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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK


ISABEL LITOVICH, on Behalf of Herself and Case No. _______________
All Others Similarly Situated,

                        Plaintiff,

            v.

BANK OF AMERICA CORPORATION;
MERRILL LYNCH, PIERCE, FENNER &
SMITH, INC.; BofA SECURITIES, INC.;
BARCLAYS CAPITAL INC.; CITIGROUP
INC.; CITIGROUP GLOBAL MARKETS
INC.; CREDIT SUISSE SECURITIES (USA)
LLC; DEUTSCHE BANK SECURITIES
INC.; THE GOLDMAN SACHS GROUP,
INC.; GOLDMAN, SACHS & CO., LLC;
JPMORGAN CHASE & CO.; J.P. MORGAN
SECURITIES LLC; MORGAN STANLEY;
MORGAN STANLEY & CO., LLC;
MORGAN STANLEY SMITH BARNEY
LLC; NATWEST MARKETS SECURITIES
INC.; WELLS FARGO & CO.; WELLS
FARGO SECURITIES LLC; and WELLS
FARGO CLEARING SERVICES, LLC,

                        Defendants.

                         CLASS ACTION COMPLAINT
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       Plaintiff Isabel Litovich, individually and on behalf of all others similarly situated (the

“Class”), brings this class action complaint against Defendants Bank of America Corporation;

Merrill Lynch, Pierce, Fenner & Smith, Inc.; BofA Securities, Inc.; Barclays Capital Inc.;

Citigroup Inc.; Citigroup Global Markets Inc.; Credit Suisse Securities (USA) LLC; Deutsche

Bank Securities Inc.; The Goldman Sachs Group, Inc.; Goldman, Sachs & Co., LLC; JPMorgan

Chase & Co.; J.P. Morgan Securities LLC; Morgan Stanley; Morgan Stanley & Co., LLC; Morgan

Stanley Smith Barney LLC; NatWest Markets Securities Inc.; Wells Fargo & Co.; Wells Fargo

Securities LLC; and Wells Fargo Clearing Services, LLC for damages and injunctive relief

pursuant to Section 1 of the Sherman Act, 15 U.S.C. §1; and Sections 4 and 16 of the Clayton Act,

15 U.S.C. §§15 and 26.

                                       INTRODUCTION

       1.      This case involves a conspiracy by Defendants from at least August 1, 2006 to the

present (“Class Period”) to unreasonably restrain the trade of odd-lots of corporate bonds in the

secondary market. Plaintiff and other similarly situated investors (the “Class”) have bought and

sold odd-lots of corporate bonds in the secondary market directly from Defendants, who are

horizontal competitors. As a result of Defendants’ conspiracy, Plaintiff and the Class paid more

when buying, and received less when selling, their corporate bonds, suffering antitrust injury under

Section 1 of the Sherman Act, 15 U.S.C. §1.1

       2.      The U.S. corporate bond market is among the world’s largest and deepest sources

of capital for companies. The corporate bond market has two parts. Companies issue their bonds



1
        Throughout this complaint, the term “bond” is used. Unless the context demonstrates
otherwise, the use of the word “bond” should be read to specifically mean “corporate bonds” as
opposed to other types of bonds, such as treasuries, municipal bonds, government-sponsored
enterprise (GSE) bonds, junk bonds, etc.



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into the primary market. In the primary market, bonds are issued in individual offerings of given

amounts, known as a “series.” Any given bond in a series is fungible with another in that series.

Thereafter, investors trade the bonds in the secondary market. Unlike stocks, which investors trade

on exchanges, bond investors in the United States, such as Plaintiff, trade bonds in the secondary

market over-the-counter (“OTC”).

       3.      Within the secondary market, corporate bonds are also categorized based on the

size of each bond trade. “Round-lots” consist of any bond trade that is greater than and divisible

by $1 million in par value. “Odd-lots” consist of any bond trade that is less than $1 million in par

value. Because the underlying bonds are fungible, odd-lots of a given underlying bond can be

combined into a round-lot of that bond, and a round-lot of a given underlying bond can be broken

into odd-lots of that bond. There is no qualitative difference in the underlying bonds comprising

odd-lots and round-lots. They both pay the same coupon rate of interest on the same schedule and

have the same maturity date.

       4.      Investors primarily trade either round-lots or odd-lots. Institutional investors, such

as pension funds, mutual funds, hedge funds, sovereign funds, insurance companies, and

endowments, primarily trade in round-lots. Retail investors primarily trade in odd-lots.

       5.      In the secondary market, odd-lot bond trades comprise the vast majority of all

corporate bond trades by number of trades. For example, in 2017 and 2018, approximately 90%

of corporate bond trades were less than $1 million in size. Corporate bond trades of less than

$100,000 comprise approximately 70% of all trades.

       6.      In the OTC secondary market, Defendants are market makers for both round-lots

and odd-lots of corporate bonds. As market makers, Defendants stand ready to both buy and sell




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corporate bonds at any time. To do so, they provide both “bid” prices at which they are willing to

purchase bonds and “offer” or “ask” prices at which they are willing to sell bonds.

         7.    In the OTC secondary market, Plaintiff and the Class are Defendants’ customers.

They buy and sell corporate bonds in the secondary market based on the bids and offers shown by

Defendants.

         8.    The difference between the bid price and the offer price is the “bid-offer spread.”

By keeping the price at which Defendants buy bonds (the bid) lower than the price at which they

sell bonds (the offer), Defendants capture the bid-offer spread as compensation for their market-

making activities. As market makers, Defendants prefer wider bid-offer spreads. Defendants wish

to buy bonds (at the bid) from Plaintiff and the Class for as little as possible and sell bonds (at the

offer) to Plaintiff and the Class for as much as possible. Wider bid-offer spreads increase

Defendants’ ability to make profits.

         9.    In contrast to the Defendants, Plaintiff, and the Class prefer narrower bid-offer

spreads. Plaintiff and the Class want to buy for less and sell for more, increasing their ability to

make profits when buying or selling bonds.

         10.   In a competitive market, Defendants compete for Plaintiff’s and the Class’ trading

volume. Because bonds within a given series are fungible, Defendants should compete on price.

To win trading volume, Defendants should raise their bid prices and/or lower their offer prices. In

other words, competition should narrow the bid-offer spreads Defendants show to Plaintiff and the

Class.

         11.   Despite the high number of odd-lot trades and the fact that they are qualitatively

identical to round-lot bonds, odd-lot investors, such as Plaintiff and the Class, persistently pay bid-

offer spreads that are 25% to 300% wider than investors trading in round-lots of the same




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underlying bonds. Odd-lot investors therefore face substantially higher trading costs per bond than

round-lot investors. Defendants dealing in odd-lot transactions reap higher compensation from

these wider bid-offer spreads.

        12.    No reasonable economic justification explains the magnitude of the pricing

disparity between odd-lot and round-lot trades. In a truly competitive market, multiple factors

(such as advancements in technology and the desire to secure a greater share of the growing odd-

lot market) suggest that Defendants should be narrowing their bid-offer spreads on odd-lots

towards parity with the already profitable round-lot levels, in an effort to divert trades away from

dealer competitors. Narrowing bid-offer spreads for odd-lot trades towards spreads for round-lots

is in the unilateral economic interest of each Defendant, which could individually profit by

increasing its share of the market for odd-lot trading in U.S. corporate bonds. That odd-lot bid-

offer spreads have not and are not converging towards the same level as round-lot bid-offer spreads

is evidence that corporate bond dealers are acting anticompetitively and against their unilateral

interest.

        13.    Other evidence also supports the conclusion that the wider odd-lot bid-offer spreads

paid by Plaintiff and the Class are the result of an anticompetitive, horizontal agreement among

Defendants to restrict competition. First, Defendants have a common motive to conspire in the

highly concentrated secondary market of OTC trading in corporate bonds. Second, there exists a

high level of interfirm communication and opportunities for such communication amongst

Defendants to realize higher spreads on odd-lot bond transactions than those for round lots. Third,

wider bid-offer spreads for odd-lots persist even as advances in electronic trading (as seen in other

markets) should have made trading cheaper and easier for Defendants. Fourth, odd-lot bonds

offered in international bond markets with lower volumes and less liquidity than the U.S. market




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do not trade at wider spreads compared to round-lots. There is no explanation – other than

concerted action by Defendants to maintain wider odd-lot spreads, and thus higher profits for

themselves collectively – for why odd-lot spreads for corporate bonds issued and traded in the

United States have not converged toward round-lot spreads.

       14.     As further evidence of Defendants’ anticompetitive conduct, Defendants have

frustrated advances in the marketplace that would have improved pricing and increased pre-trade

transparency for odd-lot investors. According to a report by Greenwich Associates LLC based on

interviews with Defendants, “the top five dealers by market share saw the current e-trading

evolution as more of a threat than an opportunity. . . .” Bloomberg recently noted that in U.S.

corporate bond trading “[t]here aren’t any exchanges and everything is negotiated, which gives

dealers the upper hand when it comes to where the market is for a given bond . . . enabl[ing] the

biggest firms, like JPMorgan and Goldman Sachs, to keep a stranglehold on the market. . . . The

bond market is littered with startups that have tried – and failed – to loosen Wall Street’s grip on

bond trading and make it more efficient.”2

       15.     Defendants have acted in concert against such market evolutions through group

boycotts of electronic platforms that would increase pre-trade pricing transparency for retail

investors dealing in odd-lots, and they have colluded to shut down odd-lot-focused electronic

trading platforms that might have afforded access to retail investors whose trading would have

lessened the price disparity between retail odd-lot transactions and round-lot transactions.

       16.     Defendants’ collusion was facilitated by their joint ownership and control of 46%

of TradeWeb, an electronic platform in which all named Defendants have invested, and which


2
       Nick Baker and Matthew Leising, Ex-Goldman Exec Pushes ‘70s Fix for Bond Market’s
Big Problem, BLOOMBERG (June 25, 2018), https://www.bloomberg.com/news/articles/2018-06-
25/ex-goldman-exec-touts-70s-era-fix-to-bond-market-s-big-problem.



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Defendants foreclosed from use by retail odd-lot investors. Defendants also used TradeWeb

during the Class Period as a “stalking horse” to acquire and shut down electronic platforms that

would have made bond trading much more transparent and that threatened Defendants’ hegemony

as market makers and their ability to derive supracompetitive profits from wider odd-lot bid-offer

spreads.

       17.     Taken together, these allegations, as more fully set forth below, plausibly

demonstrate that beginning at least as early as August 1, 2006,3 Defendants agreed to unreasonably

restrain competition in the secondary trading market for odd-lots of corporate bonds in the United

States. Further, as a direct and proximate result of Defendants’ unreasonable restraint, Plaintiff

and the Class suffered harm in the form of artificially higher transaction costs for odd-lot corporate

bonds, by way of artificially higher bid-ask spreads, than they would have paid but for Defendants’

antitrust violations. Plaintiff therefore brings this class action alleging a violation of Section 1 of

the Sherman Act to obtain relief for herself and the Class.

                                 JURISDICTION AND VENUE

       18.     The Court has subject matter jurisdiction over Sherman Act claims pursuant to

28 U.S.C. §§1331 and 1337 and Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§15 and 26.

       19.     The Court has personal jurisdiction over Defendants subject to service under

Section 12 of the Clayton Act, 15 U.S.C. §22. Defendants’ collusive acts took place, in substantial

part, in New York specifically and in the United States generally. These acts were conducted by




3
       August 1, 2006 is selected as the beginning of the Class Period because beginning in July
2006, corporate bond trade pricing data was required to be reported by FINRA via the public
TRACE system. As discussed further in this complaint, this TRACE data demonstrates that
Defendants are not competing on odd-lot bid-offer pricing.



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persons and entities subject to the laws of the United States, including New York, as well as other

states and territories.

        20.     Venue is proper in this District pursuant to Sections 4, 12, and 16 of the Clayton

Antitrust Act, 15 U.S.C. §§15, 22, and 26, and 28 U.S.C. §1391(b), (c), and (d). One or more

Defendant resides, transacts business, is found, or has agents in this District, a substantial part of

the events giving rise to Plaintiff’s claims arose in this District, and a substantial portion of the

affected interstate trade and commerce described herein has been carried out in this District.

        21.     Defendants’ acts were within the flow of, were intended to, and did, in fact, have a

substantial effect on the interstate commerce of the United States.

                                             PARTIES

        22.     Plaintiff Isabel Litovich is a citizen of San Juan, Puerto Rico. Plaintiff Litovich

held a client account with Defendant Morgan Stanley, in which she traded odd-lots of corporate

bonds (including, specifically, bonds issued by Harrahs Operating Co Inc., CUSIP 413627BM1,

purchased on March 25, 2013) during the Class Period at prices that were impacted by Defendants’

misconduct and/or in transactions that occurred directly with one or more Defendant, and suffered

economic injury as a result of Defendants’ misconduct.

        23.     Defendant Bank of America Corporation (“BAC”) is a Delaware corporation

headquartered at 100 North Tryon Street, Charlotte, North Carolina 28255. Through its bank and

non-bank subsidiaries, BAC, a publicly traded bank holding company, provides a range of

financial services and products across the United States. BAC operates four business segments,

including Consumer Banking, Global Wealth and Investment Management (“GWIM”), Global

Banking, and Global Markets. BAC’s Global Markets business segment offers sales and trading

services to institutional clients across fixed-income, credit, currency, and equity businesses.

Global Markets’ activities are executed through BAC’s global network of bank and broker-dealer


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entities. Among Global Markets’ “Core Business Lines” (as defined by Rule 165(d) of Dodd-

Frank) is “Global Credit and Special Situations,” which is a market-maker in the bonds and loans

of corporate issuers whose coverage includes investment-grade issuers in the U.S. BAC’s GWIM

business provides comprehensive wealth management services to individuals, businesses, and

institutions, including a full set of investment management, brokerage, banking, and lending

solutions. BAC finances its business using a globally-coordinated funding strategy to provide

greater control, consistency, and wider name recognition with investors.

       24.    Defendant Merrill Lynch, Pierce, Fenner & Smith Inc. (“Merrill Lynch”) is a

Delaware corporation with its headquarters at One Bryant Park, 1111 Avenue of the Americas,

New York, New York 10036, and is an indirect subsidiary of Bank of America Corporation.

Defendant Merrill Lynch is a “Material Entity” within BAC, as defined by Rule 165(d) of Dodd-

Frank, meaning it is a subsidiary that is significant to the activities of a Core Business Line.

Through year-end 2018, Merrill Lynch was the primary U.S. broker-dealer for BAC, serving

corporate, institutional, retail through BAC’s GWIM, and Global Markets businesses. In May

2019, BAC separated the institutional and retail brokerage business within Merrill Lynch with the

retail brokerage business remaining within Merrill Lynch.

       25.    Defendant BofA Securities, Inc. is a Delaware corporation with its headquarters at

One Bryant Park, 1111 Avenue of the Americas, New York, New York 10036, and is an indirect

subsidiary of BAC. BofA Securities is a U.S. licensed broker-dealer which, as of May 2019, is

responsible for BAC’s institutional brokerage business for the GWIM and Global Markets

business segments.

       26.    Defendants BAC, Merrill Lynch, and BofA Securities, Inc. are referred to

collectively in this complaint as “Bank of America.” Bank of America traded odd-lots of corporate




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bonds in the United States with Plaintiff and/or the Class during the Class period, and as a result

of the conduct alleged herein, Bank of America charged unlawful, artificial prices to Plaintiff

and/or the Class. Bank of America, as used in this complaint, includes all of Bank of America’s

predecessors, subsidiaries, or affiliates that played a material role in the unlawful acts alleged

herein.

          27.   Defendant Barclays Capital Inc. (“Barclays”) is a Connecticut corporation with its

headquarters at 745 7th Avenue, New York, New York 10019. Barclays is a U.S. licensed broker-

dealer and is a material U.S. operating entity of Barclays PLC, a public limited company. Barclays

engages in investment banking, wealth management, and investment management services in the

United States. Through its Credit core business line, Barclays provides market-making for, among

other things, corporate bonds.

          28.   Barclays traded odd-lots of corporate bonds in the United States with Plaintiff

and/or the Class during the Class Period, and as a result of the conduct alleged herein, Barclays

charged unlawful, artificial prices to Plaintiff and/or the Class. Barclays, as used in this complaint,

includes all of Barclays’ predecessors, subsidiaries, or affiliates that played a material role in the

unlawful acts alleged herein.

          29.   Defendant Citigroup Inc. (“Citi”) is a Delaware corporation headquartered at 390-

388 Greenwich Street, New York, New York 10013. Citi is a publicly traded registered bank

holding company that conducts its business through three segments: Global Consumer Banking,

Institutional Clients Group, and Corporate / Other. Citi’s three main business lines consists of

Banking, Market & Securities Services, and Global Consumer Banking.

          30.   Defendant Citigroup Global Markets Inc. (“CGMI”) is a New York corporation

with its headquarters at 390-388 Greenwich Street, New York, New York 10013. It is an indirect




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subsidiary of the parent, Citi. CGMI is Citi’s primary U.S. licensed broker-dealer. CGMI is a

dealer and market-maker in equities, fixed income securities and commodities. It provides a full

range of products and services, including, among other things, sales and trading, institutional

brokerage to a wide range of corporate, institutional, public sector and high-net-worth clients.

        31.    Defendants Citigroup Inc., and CGMI are referred to collectively in this complaint

as “Citigroup.” Citigroup traded odd lots of corporate bonds in the United States with Plaintiff

and/or the Class during the Class Period, and as a result of the conduct alleged herein, Citigroup

charged unlawful, artificial prices to Plaintiff and/or the Class.       Citigroup, as used in this

complaint, includes all of Citigroup’s predecessors, subsidiaries, or affiliates that played a material

role in the unlawful acts alleged herein.

        32.    Defendant Credit Suisse Securities (USA) LLC (“Credit Suisse”) is a Delaware

limited liability company with its headquarters at 11 Madison Avenue, New York, New York

10010. It is a U.S. licensed broker-dealer and the main U.S. operating company of its ultimate

parent Credit Suisse Group AG, a global financial holding complaint. It operates as an investment

bank in the United States. Its businesses include securities underwriting, sales and trading,

investment banking, private equity, alternative assets, financial advisory services, investment

research, and asset management. Credit Suisse is a leading market-maker in private and public

debt.

        33.    Credit Suisse traded odd-lots of corporate bonds in the United States with Plaintiff

and/or the Class during the Class Period, and as a result of the conduct alleged herein, Credit Suisse

charged unlawful, artificial prices to the Plaintiff and/or the Class. Credit Suisse, as used in this

complaint, includes all of Credit Suisse’s predecessors, subsidiaries, or affiliates that played a

material role in the unlawful acts alleged herein.




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        34.        Defendant Deutsche Bank Securities, Inc. (“Deutsche Bank”), is a Delaware

corporation with its headquarters at 60 Wall Street, New York, New York 10005. It is a full service

broker-dealer providing brokerage and investment advisory service, investment banking services

and other services. Its main activities include, among other things, fixed income sales and trading

and market-making. It is one of two subsidiaries through which its ultimate parent, Deutsche Bank

AG, primarily operates in the United States.

        35.        Deutsche Bank traded odd-lots of corporate bonds in the United States with

Plaintiff and/or the Class during the Class Period, and as a result of the conduct alleged herein,

Deutsche Bank charged unlawful, artificial prices to the Plaintiff and/or the Class. Deutsche Bank,

as used in this complaint, includes all of Deutsche Bank’s predecessors, subsidiaries, or affiliates

that played a material role in the unlawful acts alleged herein.

        36.        Defendant The Goldman Sachs Group, Inc. (“Group Inc.”) is a Delaware

corporation headquartered at 200 West Street, New York, New York 10282. It is a bank holding

company and a financial holding company regulated by the U.S. Federal Reserve System (“Federal

Reserve”). It reports its activities in four business segments, including “Investment Banking,”

“Institutional Client Services,” and “Investment Management.” Group Inc. raises capital for the

company and sends its downstream to its subsidiaries to support their business activities. In turn,

Group Inc. depends on dividends, distributions, and other payments from its subsidiaries to fund

its obligations.

        37.        Defendant Goldman, Sachs & Co. LLC (“GS&Co.”) is a New York limited liability

company with its headquarters at 200 West Street, New York, New York 10282. It is a direct

wholly-owned subsidiary of Group, Inc., and is its principal operating subsidiary in the United

States. GS&Co. is a broker-dealer and is responsible for Group Inc.’s Investment Banking,




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Institutional Client Services, and Investment Management business in the United States. Through

its Institutional Client Services business, GS&Co. provides financial products to its clients and

acts as market maker, including in investment grade corporate bonds.

       38.     Defendants Group, Inc. and GS&Co. are referred to collectively in this complaint

as “Goldman Sachs.” Goldman Sachs traded odd-lots of corporate bonds in the United States with

Plaintiff and/or the Class during the Class Period, and as a result of the conduct alleged herein,

Goldman Sachs charged unlawful, artificial prices to Plaintiff and/or the Class. Goldman Sachs,

as used in this complaint, includes all of Goldman Sachs’ predecessors, subsidiaries, or affiliates

that played a material role in the unlawful acts alleged herein.

       39.     Defendant JPMorgan Chase & Co. (“JPMorgan Chase”) is a Delaware corporation

headquartered at 270 Park Avenue, New York, New York 10017. It is a financial holding company

regulated by the Federal Reserve. It reports its activities in five business segments, including

“Corporate & Investment Bank” and “Asset & Wealth Management.” JPMorgan Chase issues

debt and equity securities in the capital markets and uses those proceeds to fund and support its

subsidiaries and their business activities.    In turn, JPMorgan Chase depends on dividends,

distributions, and other payments from its subsidiaries to fund its obligations.

       40.     J.P. Morgan Securities LLC (“JPMS”) is a Delaware limited liability company with

its headquarters at 270 Park Avenue, New York, New York 10017. JPMS is JPMorgan Chase’s

primary U.S. registered broker-dealer and investment banking entity. Through its Corporate &

Investment Bank business, JPMS provides financial products to its clients and acts as a market-

maker, including in investments grade corporate bonds.

       41.     Defendants JPMorgan Chase and JPMS are referred to collectively in this

complaint as “JPMorgan.” JPMorgan traded odd-lots of corporate bonds in the United States with




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Plaintiff and/or the Class during the Class Period, and as a result of the conduct alleged herein,

JPMorgan charged unlawful, artificial prices to Plaintiff and/or the Class. JPMorgan, as used in

this complaint, includes all of JPMorgan’s predecessors, subsidiaries, or affiliates that played a

material role in the unlawful acts alleged herein.

       42.      Defendant Morgan Stanley (“MS”) is a Delaware corporation headquartered at

1585 Broadway, New York, New York 10036. MS is a global financial services firm that, through

its subsidiaries and affiliates, provides a wide vary of products and services to a large and

diversified group of customers and counterparties. MS conducts its three core business lines

(Wealth Management, Investment Management, and Institutional Securities Group) through its

subsidiaries.

       43.      Defendant Morgan Stanley & Co., LLC (MS&Co.”) is a Delaware limited liability

company with its headquarters at 1585 Broadway, New York, New York 10036. It is an indirect,

wholly owned non-bank subsidiary of MS and serves as MS’s primary institutional broker-dealer

in the United States.

       44.      Defendant Morgan Stanley Smith Barney LLC (“MSSB”) is a Delaware limited

liability company with its headquarters at 1585 Broadway, New York, New York 10036. It is an

indirect, wholly owned non-bank subsidiary of MS and serves as MS’s primary retail broker-dealer

in the United States.

       45.      Defendants MS, MS&Co., and MSSB are referred to collectively in this complaint

as “Morgan Stanley.” Morgan Stanley traded odd-lots of corporate bonds in the United States

with Plaintiff and/or the Class during the Class Period, and as a result of the conduct alleged herein,

Morgan Stanley charged unlawful, artificial prices to the Plaintiff and/or the Class. Morgan




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Stanley, as used in this complaint, includes all of Morgan Stanley’s predecessors, subsidiaries, or

affiliates that played a material role in the unlawful acts alleged herein.

       46.     Defendant NatWest Markets Securities Inc. (“NatWest”) is a Delaware corporation

with its headquarters at 600 Washington Boulevard, Stamford, Connecticut 06901. It is the

primary U.S. broker-dealer of RBS Group plc, a foreign banking organization and financial

holding complaint.

       47.     NatWest traded odd-lots of corporate bonds in the United States with Plaintiff

and/or the Class during the Class Period, and as a result of the conduct alleged herein, NatWest

charged unlawful, artificial prices to Plaintiff and/or the Class. NatWest, as used in this complaint,

includes all of NatWest’s predecessors, subsidiaries, or affiliates that played a material role in the

unlawful acts alleged herein.

       48.     Defendant Wells Fargo & Co. (“WF&Co.”) is a Delaware corporation

headquartered at 420 Montgomery Street, San Francisco, California 94104. It is a publicly traded

financial holding company. Through its direct and indirect subsidiaries, WF&Co. conducts four

core business lines, including “Wholesale Banking” and “Wealth and Investment Management,”

primarily focusing on the United States.

       49.     Defendants Wells Fargo Securities LLC (“WFS”) is a Delaware limited liability

company with its headquarters at 420 Montgomery Street, San Francisco, California 94104. It is

an indirect, wholly owned non-bank subsidiary of WF&Co. and serves as WF&Co.’s primary

institutional broker-dealer in the United States.

       50.     Defendant Wells Fargo Clearing Services, LLC (“WFCS”) is a Delaware limited

liability company with its headquarters at One North Jefferson Avenue, St. Louis, Missouri 63103.




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It is an indirect, wholly owned non-bank subsidiary of WF&Co. and serves as WF&Co.’s primary

retail broker-dealer in the United States.

       51.     Defendants WF&Co., WFS, and WFCS, are referred to collectively in this

complaint as “Wells Fargo.” Wells Fargo traded odd-lots of corporate bonds in the United States

with Plaintiff and/or the Class during the Class Period, and as a result of the conduct alleged herein,

Wells Fargo charged unlawful, artificial prices to Plaintiff and/or the Class. Wells Fargo, as used

in this complaint, includes all of Wells Fargo’s predecessors, subsidiaries, or affiliates that played

a material role in the unlawful acts alleged herein.

                            AGENTS AND CO-CONSPIRATORS

       52.     Defendants’ agents, including their officers, employees, or other representatives,

ordered, authorized, or performed the acts alleged in this complaint on Defendants’ behalf in the

normal course of their duties as Defendants’ agents engaged to manage and operate Defendants’

businesses or affairs.

       53.     Each Defendant acted as the principal, agent, or partner for each other Defendant

with respect to the acts, violations, and common course of collusive conduct alleged herein.

       54.     Persons not named as Defendants may have committed acts in furtherance of the

unlawful antitrust conspiracy alleged herein, such that they may be liable as co-conspirators.

Because the record of their conduct lies within their control or the control of the Defendants,

Plaintiff is unable at this time to identify any such co-conspirators by name.

                                  FACTUAL ALLEGATIONS

       BONDS: A PRIMER

       55.     Bonds are debt similar to a loan or an IOU. The issuer, such as a corporation, issues

bonds to raise money for any number of purposes, including augmenting cash, refinancing existing

debt, or fund capital investments. The lenders, also known as bondholders, receive from the issuer



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scheduled payments of a specified rate of interest (the “coupon rate”) during the life of the bond,

as well as the promise to repay the principal (the “face value” or “par value” of the bond) when it

matures after a set period of time (the “maturity date”). Bonds allow their issuers to attract a large

number of lenders on equal terms in an efficient manner. In the secondary market, the price of a

bond is expressed as a percentage of the bond’s par value. Thus, a bid/offer spread of 98/100

means that the bank is willing to buy a bond at 98% of the bond’s par value, and is willing to sell

the bond at 100% of the bond’s par value.

       56.     Corporate bonds have a number of attractive benefits to investors. The bond’s

coupon rate provides a predictable income stream of interest payments to bondholders. Upon

maturity, the bondholder investor receives back the entire principal amount loaned to the

corporation. Bonds are generally regarded to be less volatile in their price movements than many

other financial instruments. Bonds are also considered safer than stocks, insofar as they are debt

obligations with set payment schedules, and corporate bondholders enjoy priority over

shareholders with respect to claims on the company’s assets in the event of bankruptcy.

       57.     Like any investment, corporate bonds have risks. These bonds have credit risk and

prices could move higher or lower based on the market perception of the issuers’ claim-paying

ability. Bonds also have interest rate risk. Bond prices will vary inversely with current interest

rates because rising interest rates make the bond’s coupon rate less attractive. To sell the older

bond with a lower interest rate, the investor may have to sell it at a discount. Bonds also have

liquidity risks because investors may not be able to find a market to buy or sell the bond. Bonds

have call or pre-payment risk because a bond issuer may retire a bond before its maturity date,

depriving the investor of receiving the coupon rate until maturity (bonds may be retired when




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       interest rates are declining, much like a homeowner might refinance a mortgage to benefit from a

       lower interest rate).

               58.     The popularity of corporate bonds as an investment vehicle is evidenced by the

       monetary value of outstanding bonds. According to the Securities Industry Financial Markets

       Association (“SIFMA”), $9.598 trillion in U.S. corporate bonds were outstanding as of the third

       quarter of 2019.4 In 2019, average daily trading volume of publicly traded U.S. corporate bonds

       was $33.9 billion.5 As further set forth in the chart below, both the volume and value of corporate

       bond trading has steadily increased between 2013-2018:

                               Corporate Bonds Annual Trading Volume Data

                2013             2014             2015             2016              2017            2018
Number of
trades          10,773,767       10,328,658        10,797,691       12,837,632       13,857,643      15,490,337
Par Amount
($ Millions)    $6,174,087       $6,739,906        $ 7,047,997      $ 7,530,079      $ 7,764,356     $7,910,259

               59.     The size of a bond trade has no impact on and is irrelevant to the terms of the

       underlying bond itself. For any individual corporate bond, the characteristics of that bond – its par

       value, coupon rate, maturity date, credit rating, type of interest payments, and risks – are identical

       regardless of whether an investor is trading in odd-lots or round-lots in that particular bond.

               CORPORATE BONDS ARE TRADED OVER-THE-COUNTER (“OTC”)

               60.     Investors trade almost all corporate bonds in the United States over-the-counter, or

       OTC. In contrast, investors trade almost all other equities, such as stocks, on exchanges. There

       are significant differences between OTC and exchange trading that are relevant for purposes of




       4
               https://www.sifma.org/resources/research/us-bond-market-issuance-and-outstanding/.
       5
               https://www.sifma.org/resources/research/us-bond-market-trading-volume/.



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this action, particularly the costs and fees paid by traders, and the degree of transparency of

information available to investors before their trades are placed and completed.

        61.     On an exchange-based market like the NYSE, investors can trade directly with each

other, through brokers, by buying or selling a given security via the exchange at a price reflecting

the immediately collected and disseminated National Best Bid and Offer (“NBBO”). The brokers

who manage the exchange platforms through which these investors trade receive a commission

from the investors that is disclosed in advance of trading.

        62.     For example, if Investor A wished to buy $10,000 in XYZ company stock traded

on the New York Stock Exchange, she could log on to her brokerage account (E-Trade, Scottrade,

TD Ameritrade, etc.), see the live-quoted NBBO price for XYZ’s stock, and decide whether to buy

$10,000 of shares at that price. If she decided to buy, she would buy directly from another entity

(another retail investor, a bank, an institutional investor, or the company itself) willing to sell at

that NBBO price. Investor A’s fees for the transaction would be known in advance as well (some

brokerages allow a certain number of “free” trades based on the regular fees you pay; others have

set per-trade fees).

        63.     Exchange-based markets are generally transparent. Investors are informed of the

fees/costs they will pay before they trade, pay the same fees regardless of trade size (absent rare

exceptions for particularly large orders which may be assessed a higher transaction cost due to

increased risk), receive the best price then available on the exchange for the security they are

trading, and are able to provide liquidity directly to the market without the need for intermediary

dealers. Thus, exchanges provide a centralized market for trading, and a centralized information

source for the prices offered, and the prices at which trades are transacted.




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       64.     OTC trading works differently because all market-making – and thus, all trading –

flows through individual dealers. There is no NBBO price in OTC trading. Instead, investors who

want to buy or sell corporate bonds request a bid/offer quote (a “request-for-quote” or “RFQ”)

from a specific dealer or set of dealers and must decide, based solely on the extent of their own

information gathering, whether to transact at an offered spread.

                              Simplified OTC Trading Structure




       65.     By way of illustration, assume Investor A requested a quote to purchase and

Investor B requested a quote to sell an equal volume (100 bonds) of a corporate bond via Dealer

X with a par value of $1,000 on a given day. Under these circumstances, Dealer X’s transaction

costs and profit would equal the difference between the price at which it bought the corporate bond

from Investor B (its bid, expressed as a percentage of the par value) and the price at which it sold

the corporate bond to Investor A (its offer, again expressed as a percentage of the par value),

multiplied by the par value and multiplied by the number of bonds traded.

       66.     Thus, if Dealer X responded to the investors’ respective RFQs on a “98 bid/100

offer” spread, it would have purchased those 100 XYZ corporate bonds from Investor B at a price

of $98,000 (98% bid times $1,000 par value times 100 bonds) and sold the 100 XYZ corporate

bonds to Investor A at a price of $100,000 (100% offer times $1,000 par value times 100 bonds).

Dealer X’s profit and transaction costs would represent the $2,000 difference, or the bid-offer



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spread expressed as a percentage (2%) multiplied by the par value of the underlying XYZ corporate

bond ($1,000 par value) multiplied by the number of bonds traded (100 bonds).

         67.   RFQs to obtain a bid or offer price can be made in several ways. The RFQ could

be placed electronically via a dealer’s proprietary bond-trading system; via Bloomberg message

to dealers who had previously quoted non-binding bid-offer spreads on that bond to see what prices

they would be willing to trade at now; via a multi-dealer trading platform such as MarketAxess or

TradeWeb (although these are open only to institutional investors); or via phone by calling dealers

directly (Bloomberg reports that 80% of U.S. corporate bond trades are still done by phone or

chat).

         68.   There is no requirement that a dealer respond to a RFQ, there is no one platform on

which all dealers trade and respond to RFQs, and there is no centralized source of information for

all available prices. Hence, there is no guarantee that an investor is getting the best price possible

because the quality of a quote is entirely dependent on which dealers receive and respond to the

RFQ.

         69.   Once investors select a quote in response to their RFQ, they execute the trade with

that dealer. There are no disclosed dealer-imposed transaction costs to the investor, because all

transaction costs are subsumed within the dealer’s bid-offer spread between the (lower) price at

which they buy the bond and the (higher) price at which they sell the bond.6




6
        On May 14, 2018, the Securities and Exchange Commission (“SEC”) enacted amendments
to FINRA Rule 2232 (Customer Confirmation) that requires member firms to disclose additional
transaction-related information to retail customers for trades in certain fixed income securities.
Specifically, amended Rule 2232 requires a member to disclose the amount of mark-up or mark-
down it applies to trades with retail customers in corporate or agency debt securities if the member
also executes an offsetting principal trade in the same security on the same trading day.



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        70.     Where an individual dealer, rather than an exchange, acts as the transaction

intermediary, the dealer can charge whatever mark-up or commission it chooses on the transaction.

The customer, who receives only the final quote, cannot discern what the dealer is charging for its

role as transaction intermediary.7 The lack of price transparency to investors in OTC markets

stands in stark contrast to the full transparency on exchanges.

        71.     Thus, for example, if Investor A wanted to buy $10,000 of a corporate bond

issuance by company XYZ, Investor A would direct her wealth management advisor to obtain an

RFQ to purchase $10,000 of that bond. The wealth management advisor, pursuant to the best

execution requirements of Rule 5310 of the Financial Industry Regulatory Authority (“FINRA”),

would obtain a quote or quotes for that purchase from a dealer or dealers and present the best

priced quote to Investor A. If Investor A decided to buy at that price, she would buy from the

dealer, and the markups and commissions that the dealer included in that price (representing the

dealer’s transaction costs and profit) would be unknown to Investor A.8 Instead, the dealer would

collect its transaction costs and profit out of the spread between the “offer” price it had accepted

from Investor A to sell the $10,000 in bonds, and the “bid” price it had paid to either the original

issuer or a different Investor B for the $10,000 in par value of the bond. The amount of these

transaction costs and profit to the dealer would be entirely opaque to Investor A (and Investor B,

for that matter).

        72.     The lack of pre-trade transparency in the OTC market for U.S. corporate bonds

works entirely to the advantage of dealers like Defendants. As Bloomberg has noted “the debt




7
        Id.
8
        Id.



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market’s lack of transparency . . . has been hugely profitable for the biggest dealers.” 9 As

described further below, Defendants have sought to maintain this lack of transparency as part of

their anticompetitive efforts to maintain significantly better prices for them, and worse prices for

the investors, on retail investor odd-lot transactions.

          ROUND-LOT VS. ODD-LOT TRADING

          73.    Round-lot transactions, given their size, almost always involve institutional

investors – sophisticated, repeat participants in the market who are willing and able to shop around

for the best pricing. As a result, they are better informed than odd-lot or retail investors, who

typically trade infrequently.

          74.    As a result, Dealers responding to an RFQ for a round-lot know that they are dealing

with an institutional investor who is likely to be: (a) price sensitive; (b) willing and able to obtain

multiple quotes from other dealers; (c) knowledgeable regarding the market and pricing due to

their repeated role in trading; and (d) in control of a large book of business that offers additional

trading opportunities in the future if the dealer is competitive in regard to pricing. Responding to

these incentives, dealers provide quotes for round-lots at their best competitive pricing, keeping

their spreads narrow, in the hope of securing this (and other, future) business from the round-lot

institutional investor – a process entirely consistent with economic and market microstructure

theory.

          75.    By contrast, round-lots are almost never traded by retail investors, for the simple

reason that retail investors do not tend to have positions in one individual underlying bond in

excess of $1 million. As a result, odd-lot RFQs are more likely to involve less sophisticated retail




9
          Baker and Leising, supra note 2.



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investors. Indeed, as the size of an odd-lot trade decreases, it is more likely to be conducted by or

on behalf of a retail investor.

        76.     Defendants as dealers in the secondary market that are trading OTC are therefore

able to use the size of a given RFQ for a corporate bond transaction (round vs. odd, and even within

odd-lots the relative size of the odd-lot) as one means to price discriminate between institutional

and retail investors.

        77.     While some price discrimination may be expected between odd-lot and round-lot

investors because round-lot investors are more likely to be repeat customers who are better-

informed and more sophisticated, there is no explanation consistent with a healthy, competitive

market for why the differential in bid-offer spreads between odd-lots and round-lots has persisted

to the degree it has and has not shown any meaningful improvement, particularly when factoring

in technological changes and growth in the number and volume of odd-lot trades that should (in a

competitive market) be driving this differential towards parity. Instead, as shown below, the bid-

offer differential has been artificially widened by collusive acts among the Defendants, enabling

them to charge odd-lot investors (primarily retail investors) more than what they would be charged

in a competitive market free of collusion, and more than the charges paid by institutional investors

in the same underlying bonds.

        DEFENDANTS CHARGE INVESTORS IN ODD-LOTS OF CORPORATE
        BONDS ADVERSE PRICING COMPARED TO ROUND-LOT INVESTORS

        A.      Academic Research Shows that Dealers Charge Investors in Odd-Lots of
                Corporate Bonds Consistently Worse Bid-Offer Spreads than Round-Lot
                Investors

        78.     Research on odd-lot versus round-lot trading in the corporate bond markets has

established that dealers charge odd-lot investors higher prices when they buy and pay them lower

prices when they sell than round-lot investors in the same underlying bonds. This “adverse




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pricing” results in wider bid-offer spreads, and therefore higher costs, for odd-lot investors than

round-lot investors, at a statistically significant magnitude. 10 As the Financial Economists

Roundtable has stated, the corporate bond markets represent a situation where “[p]erversely, these

transaction costs rise as the trade size decreases” and “a relatively small trade of $50,000 may cost,

on a percentage basis, five or 10 times more than a large trade arranged by a financial institution.”11

       79.     Beginning in July 2006, FINRA’s Trade Reporting and Compliance Engine

(“TRACE”) system began documenting all corporate bond transactions and making all such data

available to the public. Dealers in corporate bonds were required by FINRA to report certain

anonymous trade data to the TRACE program (including par value size, price, whether a

transaction was a purchase or a sale, and information regarding whether the counterparty to the

deal was a fellow dealer or a customer), with all of the collected data being made publicly

available. TRACE thus provided greater information to the public, including retail investors, and

researchers in corporate fixed-income instruments regarding how OTC trading in the secondary

market for corporate bonds worked, pricing trends in the market, and other transactional data.

       80.     TRACE also should have created increased competitive pressure amongst

Defendants for both odd-lot and round-lot transactions, as greater transparency and disclosure of

trading prices in the market should have put more pressure on Defendants in a truly competitive

market to improve their bid-offer prices.



10
        For purposes of this complaint, Plaintiff is using the term “adverse pricing” or “adverse
prices” to describe the scenario by which dealers such as Defendants offer lower bid prices to buy
bonds from odd-lot investors, and higher prices to sell odd-lots of bonds to investors. As a result
of such “adverse pricing,” odd-lot investors are disadvantaged in any U.S. corporate bond
transaction – buy or sell – with dealers such as Defendants.
11
      Larry Harris, Albert S. Kyle, Erik R. Sirri, Statement of the Economists Roundtable, April
2015: The Structure of Trading in Bond Markets, at 6, FINANCIAL ANALYSTS JOURNAL
(November/December 2015).



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       81.       But better bid-offer pricing for odd-lot transactions never materialized. Building

primarily off of TRACE data, many research studies have been undertaken by fixed income

experts, which have specifically examined the impact of trade size (odd vs. round-lot) on the

trading costs paid by investors. The research is peer-reviewed, replicable, and based on reliable

data. Within this body of research, an astonishing consensus has emerged: odd-lot trades cost

significantly more to transact than larger round-lot trades for the corporate bond market in the

United States.

             Study           Time      Summary of Cost Findings          Increased % Cost of
                            Period                                         Odd vs. Round
        Adrian, et al.      2002-        Bid-offer spreads for odd-             100%
          (2017)             2015          lots are approximately
                                          double round-lot spreads
       Bessembinder,         2014-      One-way (i.e., one purchase          45%-210%
        et al. (2017)        2016         or sale, or half of the bid-
                                          offer spread) transaction
                                           costs averaged 62 basis
                                        points for micro lots (under
                                         $100k); 29 basis points for
                                       odd-lots (between $100k and
                                          less than $1 million); 20
                                         basis points for round-lots
                                        ($1 million to less than $10
                                       million); and 16 basis points
                                       for block trades ($10 million
                                                   or more)
        Biswas, et al.       2009-       One-way transaction costs             385%
           (2015)            2014      for bonds under $100k in par
                                        value was 48.5 basis points;
                                        for bonds over $2 million in
                                         par value, transaction costs
                                          were just 10 basis points




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    Study          Time    Summary of Cost Findings         Increased % Cost of
                  Period                                      Odd vs. Round
  Ciampi &        2008-    Mean bid-offer spread for all         67%-590%
  Zitzewitz        2009         corporate bonds below            (corporate)
   (2010)                   $100k was 207 basis points,
                           compared to 112 basis points
                           for all trades between $100k-
                            499k; 60 basis points for all
                            trades between $500k-999k;
                            30-36 basis points for trades
                                   above $1 million
Edwards, et al.   2003-       One way transaction costs         55%-1775%
   (2007)         2005      averaged 46-75 basis points
                           for micro lots (under $100k);
                             14-34 basis points for odd-
                               lots ($100k-less than $1
                              million); and between 4-9
                              basis points for round-lot
                                trades ($1 million and
                                         above)
  Feldhutter      2004-           Average round-trip            10%-184%
   (2012)         2009     transaction costs for odd-lots
                              were between 21-54 basis
                             points (depending on trade
                             size), compared to 19 basis
                              points for round-lot trades
 Harris (2015)    2014-      Mean effective half-spread         29%-156%
                  2015          of 77.3 basis points for
                                micro lot trades below
                            $100k; 40.2 basis points for
                                odd-lot trades between
                                $100k and less than $1
                           million; 31.1 basis points for
                            round-lot trades between $1
                               million and less than $5
                                million; and 30.2 basis
                            points for block trades of $5
                                    million or more




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    Study          Time    Summary of Cost Findings        Increased % Cost of
                  Period                                      Odd vs. Round
Hendershott &     2010-    Average one-way transaction 211%-685% (voice)
 Madhavan          2011        costs for micro lot trades        31%-147%
   (2015)                  below $100k were 87.9 basis          (electronic)
                             points for voice trades and
                           22 basis points for electronic
                            trades; 46.7 basis points for
                             voice trades and 13.8 basis
                             points for electronic trades
                            for odd-lots of $100k to less
                               than $1 million; 15 basis
                             points for voice trades and
                                  10.5 basis points for
                             electronic trades for round-
                           lots of $1 million to less than
                              $5 million; and 11.2 basis
                             points for voice trades and
                                   8.9 basis points for
                             electronic trades for block
                            trades of $5 million or more
Ritholtz (2016)   2003-    Average bid-offer spreads of         115%-700%
                  2015        104 basis points for micro
                             lot trades below $100k; 28
                                basis points for odd-lot
                              trades between $100k and
                            less than $1 million; and 13
                               basis points for round-lot
                                 and block trades of $1
                                     million or more
 White (2017)     2005-      Bid-offer spreads for retail            N/A
                  2017      corporate bond transactions
                                 (transactions less than
                               $100k) are over 50 basis
                               points higher than that of
                               institutional transactions
                               (transactions greater than
                                         $100k)
  Zitzewitz       2008-      One-way transaction costs      200% (increase for
   (2010)         2010     averaged 132 basis points for    trades under $100k
                              trades less than $100k; 44       vs. trades over
                            basis points for transactions          $500k)
                                       over $500k




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       82.     Collectively, these studies show that odd-lot investors in corporate bonds pay

average transaction costs (represented by the bid-offer spread) that are between 10% (Feldhutter)

to as much as 1775% (Edwards) greater than round-lot investors. In dollar terms, using the most

recent available (and relatively conservative) analysis by Bessembinder (2017) estimating the one-

way (i.e., just for a single purchase or sale) transaction costs for corporate bonds, a $700,000 odd-

lot purchaser or seller would pay $2,030 ($700,000 * 29 basis points, or 0.0029) in transaction

costs, whereas an investor purchasing or selling a $1 million round-lot would pay $2,000 ($1

million * 20 basis points, or 0.0020). Although the dollar amounts for the two transactions are

almost the same, the percentage is not: 0.29% for the odd-lot bond versus 0.20% for the round-

lot bond. In a truly competitive market where dealers competed and drove down the odd-lot

pricing to the same level as round-lots – 0.20% in this case – the $700,000 odd-lot investor would

pay in absolute dollars only $1,400 – a difference of $630 that the dealers are currently able to

impose on their odd-lot counterparties.

       83.     The disparity in transactions costs becomes even more inequitable for retail odd-lot

investors trading in smaller amounts, demonstrated by comparing the total costs paid by such

investors for trading in the same volume of bonds as one round-lot trade. For example, a retail

investor purchasing $50,000 in a given corporate bond would pay $310 ($50,000 * 62 basis points,

or 0.0062) in transaction costs according to Bessembinder’s model. This means 20 retail investors

trading a total of $1 million in par value in corporate bonds in $50,000 increments would pay a

total of $6,200 in transaction costs, or 3.1 times as much as the $2,000 a single, institutional $1

million round-lot investor would pay.

       84.     The impact of this adverse pricing for odd-lot transactions, when carried through to

the entirety of the market, costs odd-lot investors billions of dollars annually.




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        85.    For instance, the U.S. corporate bond market in 2018 had $7.91 trillion in annual

trading volume by par value, and approximately 18% of this par value volume, or $1.4238 trillion,

was estimated to be in odd-lots. Using Bessembinder’s estimates, the total transaction costs for

this portion of the market at 29 basis points was $4.13 billion ($1.4238 trillion * 0.0029); if this

portion instead traded at the 20 basis point transaction cost Bessembinder found for round-lots, the

total transaction costs would be just $2.85 billion ($1.4238 trillion * 0.0020). The difference, or

$1.281 billion, is a conservative measure of the supracompetitive transaction costs in 2018 alone.

        B.     Expert Analysis Confirms that Dealers Charge More to Perform Odd-Lot
               Transactions than Round-Lot Transactions Even Where They Carry No
               Inventory Risk

        86.    Plaintiff also engaged her own expert to analyze corporate bonds trading data.

Plaintiff’s expert analyzed the transactions costs for Riskless Principal Trades (“RPT”) in the U.S.

corporate bond market from January 2006 to December 2017 across four trade sizes: (1) less than

$50,000; (2) $50,001 to $100,000; (3) $100,001 to $1,000,000; and (4) greater than $1,000,000.

        87.    In a RPT, the dealer simultaneously arranges both the purchase and sale of the bond.

That is, the dealer does not experience any inventory risk if she acts merely as a broker matching

the buyer with the seller because the trade does not impact the dealer’s portfolio at all.

        88.    In the analysis, RPTs are defined as buy and sell trades that occur almost

simultaneously – i.e., within one minute of each other. The analysis focused on trades in which

the trade amount is the same for both the purchase and sale transaction. Thus, the dealer does not

have any mismatch in amounts which may cause inventory risk and could contribute to the bid-

ask spread. Since trade size is matched upon inception of the buy/sell transaction, there should be

no difference in transaction costs across RPTs of different trade sizes. Of special relevance to this

case, there should be no difference in the transaction costs in RPTs for round-lot versus odd-lot

RPTs.


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       89.     The analysis found the opposite. It found economically and statistically significant

differences in transaction costs for round-lot and odd-lot trades. The analysis shows that dealers

charge considerably higher transaction costs for odd-lot RPTs when compared to round-lot RPTs,

even when dealing with larger odd-lot transactions. The following chart shows that the transaction

costs for smaller odd-lot RPTs (less than or equal to $100,000 in size) is around 42 basis points,

while larger odd-lots (over $100,000 but less than $1 million) have transaction costs of just under

20 basis points. By comparison, round-lot transactions equal to or greater than $1 million have

transaction costs of under eight basis points:




       90.     The analysis also found considerably higher transaction costs for odd-lot RPTs

when compared to round-lot RPTs when broken down by RPT type. The different types relate to




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timing and sequencing of the trades, which are described in detail at the bottom of Chart 2, which

summarizes these results:




       91.     The results shown in Chart 2 are consistent with anticompetitive practices in the

corporate bond market that limit the free flow of information to non-dealer customers, thereby

increasing retail odd-lot transaction costs.

       92.     Consistent with this conclusion is the finding that transaction costs are substantially

higher when a retail customer initiates a sale as compared to retail customer purchase. Customer

sales may be motivated by liquidity needs, and therefore dealers may have greater ability to exploit

their monopoly power to drive up transaction costs relative to customer purchases.




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        93.     Because these are RPTs, inventory risk cannot explain the differential in bid-ask

spreads between odd-lot and round-lot transactions. The economically and statistically significant

RPT transaction cost differentials instead are strong evidence of collusion by the Defendants.

        THE ADVERSE PRICES CHARGED BY DEFENDANTS FOR ODD-LOT BOND
        TRANSACTIONS ARE NOT ECONOMICALLY JUSTIFIED

        A.      Defendants Are Acting Against Their Unilateral Self-Interest in Charging
                Adverse Prices for Odd-Lot Bond Transactions

        94.     No legitimate economic justifications explain the magnitude of adverse pricing for

odd-lots of corporate bonds versus round-lots of the same underlying bonds.

        95.     The costs to Defendants for actual transmission and trading execution is, on

information and belief, the same whether the Defendants are dealing in odd-lots or round-lots of

corporate bonds. The round-lot bid-offer differentials charged by Defendants for their market-

making function in corporate bonds presumably suffices to cover the costs incurred by Defendants

and to realize an adequate profit.

        96.     The existence and persistence of significantly wider spreads for odd-lot corporate

bond trades than for round-lot trades (as demonstrated in the research summarized above) is itself

evidence that Defendants are acting against their unilateral interest by failing to compete on pricing

for odd-lot bonds. The magnitude of adverse pricing for odd-lots cannot be the result of legitimate,

individual economic decisions given that round-lot prices for the same bonds are substantially

lower yet still profitable. In a competitive market untainted by collusive conduct, any individual

Defendant could easily narrow its odd-lot spreads toward greater parity with round-lot spreads

while making a profit, and thereby capture a greater percentage of the total market in odd-lot

trading at still profitable round-lot spreads.

        97.     Indeed, FINRA Rule 5310 would assist Defendants in seizing greater odd-lot

market share if they provided more competitive odd-lot spreads. Under Rule 5310, FINRA


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members (such as wealth management advisors representing retail investors in bond transactions)

have a duty to “use reasonable diligence to ascertain the best market for the subject security and

buy or sell in such market so that the resultant price to the customer is as favorable as possible

under prevailing market conditions.” Thus, any individual Defendant who offered better pricing

for odd-lots would, given the FINRA Rule 5310 best execution requirements, eventually succeed

in winning market share from any Defendants who refused to offer more competitive odd-lot

pricing.

       98.     That adverse pricing for odd-lots continues even as FINRA Rule 5310 requires

members to seek best pricing for customers suggests that responsibility for higher odd-lot pricing

lies not with retail customers or their wealth management advisors (since FINRA Rule 5310

presumably requires customers’ wealth management advisors to seek out best pricing), but rather

is a direct result of Defendants’ conspiracy to suppress competition in odd-lot pricing.

       B.      The Adverse Pricing of Bond Odd-Lots Is Not Explained by Limitations in
               Liquidity

       99.     Odd-lots are not only actively traded – as discussed earlier, odd-lots in corporate

bonds represent approximately 90% of daily trades by number of trades, and approximately 18%

of total trading volume – but the number and volume of odd-lot trades have grown since 2006.

Given the over $7 trillion size of the annual trading market in U.S. corporate bonds, there is

certainly enough demand and activity in odd-lot trades to suggest that lack of liquidity or trading

activity is not the explanation for odd-lot adverse pricing.

       100.    Indeed, “many bonds trade as actively as do small and some mid-cap stocks,”12 and

the disparity between odd-lot transaction costs and round-lot transaction costs persists within the


12
      Larry Harris, Transaction Costs, Trade Throughs and Riskless Principal Trading in the
Corporate Bond Market (Oct. 22, 2015).



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same underlying bonds, regardless of how actively they trade. If a general lack of activity or

liquidity in a specific corporate bond were the cause of higher transaction costs, the effect would

be felt by both odd-lot investors and round-lot investors in that bond.

       101.    In addition, foreign corporate bond markets have successfully reduced (if not

eliminated entirely) any differential in pricing between round-lots and odd-lots, which contradicts

any suggestion that liquidity or trading activity (or any other legitimate economic force) is the

cause of odd-lot adverse pricing in the United States. The success of these foreign markets in

reducing and/or eliminating entirely any adverse pricing for odd-lots suggests that the adverse

pricing in the U.S. corporate bond market is not the result of unilateral conduct, but rather collusive

conduct by Defendants.

       102.    In Israel, for example, the Tel Aviv Stock Exchange (“TASE”) operates a corporate

bond exchange that began operations in 1953. Banks and brokerage firms with membership on

the exchange provide their clients with online access to the exchange where they can submit orders,

trade anonymously, and view the status of an online order book that is updated in real-time.

       103.    The TASE bond exchange is much smaller than the U.S. corporate bond market.

TASE’s corporate bond market is only 1% of the American corporate market – $80 billion vs.

$7.48 trillion – and is quite isolated, with foreign entities holding only 0.9% of all corporate bonds.

However, as reported by Abudy and Wohl (2017), despite TASE’s smaller size and isolation, the

TASE bond exchange is “a lively market with many transactions per bond-day, very little off-

exchange trading and low spreads: the average transaction half spread is 0.078% [or 7.8 basis

points]. This figure is much lower than the comparable figures in the U.S., especially for ‘retail

size’ transactions [which Abudy and Wohl define as transactions by investors with less than

$559,000 in all TASE securities].’” The Israeli corporate bond market has better pricing for odd-




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lot sized transactions than the United States market, given that the 7.8 basis point transaction cost

Abudy and Wohl calculate for the average TASE bond exchange is lower even than

Bessembinder’s (2017) 20 basis points transaction cost for round-lots.

       104.    The Italian bond markets likewise function without forcing odd-lot investors to

incur adverse pricing when they buy or sell corporate bonds.

       105.    The Italian bond market is the largest in Europe and the third largest in the world

after the United States and Japan. The Italian market includes an outsized retail investor presence,

as direct holdings of fixed-income securities (such as corporate bonds) by households are as high

as 20% of total financial holdings in Italy (or even higher), compared to between 10%-15% in

Germany and typically less than 5% in other countries, including the United States.13

       106.    To serve this large retail investor presence, the Italian corporate bond market has

created multiple electronic platforms for the trading of odd-lots of corporate bonds. The Borsa

Italiana in Milan (Italy’s only stock exchange, which is owned itself by the London Stock

Exchange) owns a 70% share in EuroTLX, which specializes in retail-size trades.14

       107.    Borsa Italiana’s EuroTLX has been operating since 2003, targeting “non-

professional and professional investors trading in retail size and focus[ing] on fixed income

securities and investment products. EuroTLX offers the possibility of trading electronically a wide

range of financial instruments with a high level of transparency on prices and on pre- and post-

trade information.”15 Because of EuroTLX’s success in catering to retail investors (precisely the




13
        Bruno Biais, et al., European Corporate Bond Markets:             Transparency, Liquidity,
Efficiency, CENTRE FOR ECONOMIC POLICY RESEARCH (May 2006).
14
       See https://www.eurotlx.com/en/chi-siamo/.
15
       See https://www.eurotlx.com/en/chi-siamo/.



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types of investors who trade in smaller odd-lots), it “has been included in the Best Execution Policy

of Italian brokers.”16

       108.    Notably, studies have found that EuroTLX, with its retail focus on investors more

likely to trade in odd-lots, outperforms dealers in the U.S. in terms of liquidity and bid-offer spread

in odd-lots. A November 2008 study by EuroTLX itself found that the bid-offer spread for bonds

on EuroTLX were generally between 20-25 basis points; a later 2014 report confirmed this

calculation.17 This average bid-offer spread of 20-25 basis points represents a one-way transaction

cost of 10-12.5 basis points for the primarily odd-lot transaction on EuroTLX, well below the 20

basis points Bessembinder (2017) observed for round-lots, and the 29 basis point observed for

odd-lots, in the United States.

       109.    That smaller foreign corporate bond markets can provide odd-lot investors with

lower bid-offer spreads, and therefore more competitive, pricing than in the United States strongly

suggests adverse pricing for odd-lots in the larger U.S. corporate bond market is the result of

collusion and is not economically justified.

       C.      Pre-World War II, Odd-Lots of Bonds Did Not Trade at Adverse Prices
               Compared to Round-Lots

       110.    Historically, trading costs for odd-lots in the U.S. corporate bond markets were

much lower than today.

       111.    Prior to 1946, retail investors were prevalent in the corporate bond market, and

bonds primarily traded on exchanges such as the NYSE. During this time period, odd-lot trading


16
       Id.
17
        See Scambi sui bond alla prova della liquidita, TLX, https://www.eurotlx.com/
sites/default/files/Scambi_sui_bond_alla_prova_della_liquidita.pdf; The Liquidity of Dual-Listed
Corporate Bonds, COMMISSIONE NAZIONALE PER LE SOCIETA E LA BORSA,
http://www.consob.it/documents/11973/204072/qdf79.pdf/bc36834b-bd60-4810-a2e0-b4012c4d
040b.



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dominated the market, with trading in round-lots limited to only a few very active issues, and

institutional investors (who preferred round-lots) forced to wait for new issues of bonds to buy in

round-lot size or deal with bond-trading firms that accumulated odd-lots of bonds, combined them

into round-lots, and then sold them as round-lots to institutional investors at a premium. Only after

the Great Depression (when private retail investors lost about 75% of their bond holdings due to

default, call, or maturity) and World War II did institutional investors dealing in round-lots come

to dominate the (now OTC) bond market. By 1946, there was no significant active exchange-

based corporate bond market on the NYSE.18

        112.    In a study by Biais and Green (2007), the authors found that “[i]n the 1940s, despite

fixed commissions, costs for retail investors trading corporate bonds were as low or lower than

they are today in OTC markets.” Biais and Green also found that during the pre-World War II

period, trade costs were more uniform across all trade sizes – “the relationship between trading

costs and trade size is much flatter in the historical exchange data than in the modern samples. . .

. [w]hat is most puzzling, in our view, is that costs in the modern data are as high as they are

relative to the historical costs.”19

        113.    Given advances in communication and data-processing that have – or should have

– driven down the costs to Defendants themselves in transacting in odd-lots of corporate bonds,

the fact that odd-lot bond pricing has not approached parity with round-lot pricing like that seen

in the pre-Depression bond market further suggests that adverse pricing for odd-lots is not

economically justified.




18
      Bruno Biais and Richard C. Green, The Microstructure of the Bond Market in the 20th
Century, at 3 (2007).
19
        Id. at 28.



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       ADDITIONAL EVIDENCE ALSO SUGGESTS THAT DEFENDANTS ARE
       COLLUDING TO CHARGE ECONOMICALLY UNJUSTIFIED ADVERSE
       PRICES FOR ODD-LOT BOND TRANSACTIONS

       A.      OTC Trading in the Secondary Market Is Highly Concentrated

       114.    First, the fact that OTC trading in the secondary markets for U.S. corporate bonds

is highly concentrated, and is becoming even more so, makes it more likely that Defendants are

engaging in collusion. Defendants have dominated the U.S. corporate bond market for well over

a decade.

       115.    Defendants who become the leading dealers in a specific corporate bond issuance

frequently obtain that status due to their involvement in the underwriting syndicate that brings that

bond to the market. Thus, data on market shares for initial U.S. corporate bond underwriting is

strongly indicative of the market shares for secondary trading in U.S. corporate bonds. Data from

2014-2018 collected by Bloomberg shows that the Defendants have been among the top firms by

market share in the U.S. corporate bond underwriting market almost every year (with the top three

firms never changing). Collectively, they have controlled 67% or more of the bond underwriting

market every year since at least 2014:




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                  U.S. Corporate Bond Underwriting Market Share (%)
                                                          2014 2015 2016      2017   2018
     JPMorgan                                              11.9 12.41 11.558 11.517 11.14
     Bank of America                                       10.8 11.44 10.436 10.476 10.788
     Citigroup                                                9 9.93 9.736 9.901 9.244
     Morgan Stanley                                         7.9 7.34 6.926 7.841 7.069
     Goldman Sachs                                          7.6 8.81 7.956 8.505      7.56
     Barclays                                               6.7 5.96    5.98 5.275 6.473
     Deutsche Bank                                          6.5 5.63    5.31 4.115 3.173
     Wells Fargo                                            5.6 6.58 6.832 5.723 6.456
     Credit Suisse                                          4.8 4.47 3.517 3.692 3.705
     UBS                                                    2.6 2.61 1.885 2.664 1.417
     RBS                                                    2.3 0.73       0      0      0
     Top 11 Firms Total:                                   75.7 75.91 70.136 69.709 67.025

         116.   From these leading positions as U.S. corporate bond underwriters, Defendants have

secured a correspondingly larger aggregate share as the top dealers in the Relevant Market (defined

below) for secondary trading in U.S. corporate bonds. According to a survey by Greenwich

Associates, the top 10 dealers in the U.S. corporate bond market currently represent approximately

90% of all U.S. trading volume in corporate bonds.20 As recently as 2006, the top 10 dealers in

corporate bond trading volume represented 80% of U.S. corporate bond trades.                Hence,

concentration in the Relevant Market is increasing. Control of 90% of the secondary trading

market for corporate bonds means there is no practical alternative for retail odd lot traders, i.e.,

Plaintiff and the Class, to trading with the cartelist Defendants.

         117.   Given their high shares of the concentrated Relevant Market, Defendants share a

common motive to conspire to charge odd-lot bond investors adverse prices. By conspiring to do

so, Defendants retain their respective shares of the market while still securing supracompetitive



20
        Greenwich Associates, U.S. Corporate Bonds: Investors Need Dealers, Dealers Need
Incentives, at 3 (2015); MSRB, 2016 Fact Book, at 31.



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profits for each colluding Defendant; these supracompetitive profits compensate Defendants for

the lost opportunity to compete and secure more of the odd-lot bond business individually at the

expense of the colluding group.

         118.   The concentration of market share in the Relevant Market among a small group of

Defendants also facilitates collusion. With fewer dealers, Defendants can coordinate and police

their cartel to ensure all Defendants maintain supracompetitive prices for odd-lots of corporate

bonds.

         119.   Even as transparency regarding trading data on corporate bonds has increased

following the adoption of the publicly available TRACE database, the adverse pricing for odd-lots

of corporate bonds continues. If Defendants were actively competing against each other to obtain

more odd-lot business, the data in TRACE would show them that they could improve their odd-

lot pricing and thereby obtain a larger share of the market.

         B.     There Are High Levels of Interfirm Communication Between Defendants

         120.   Second, Defendants’ collusion is facilitated by the high levels of interfirm

communication between Defendants in the Relevant Market, which makes fixing prices in odd-

lots of corporate bonds easier to accomplish.

         121.   Within Defendants themselves, bond trading desks are organized in such a fashion

that one individual is responsible for all bonds in a particular industry, or all bonds issued by a

particularly large issuer. Thus, each Defendant might have a specific bond trader responsible for

corporate bonds issued by energy companies, one trader responsible for automotive manufacturers,

or even one trader responsible for all bonds issued by a large issuer such as AT&T.

         122.   These traders, in turn, are responsible for publishing via Bloomberg messages

pricing for these bonds to salespeople in the market, many of whom work at other Defendants, and




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who then communicate this pricing to their own bond traders.             The result is a constant

communication loop among a small group of bond traders.

       123.    This communication loop is bolstered by online platforms – such as MarketAxess

and TradeWeb – where Defendants’ traders see live quotes from their competitors and likewise

coordinate their pricing. These platforms are controlled by and/or owned by dealers such as

Defendants, and closed to retail investors. Further, Defendants’ dealers also see the prices at which

their competitors are executing odd-lot trades via TRACE.

       124.    In short, interfirm communication of bond pricing occurs via Bloomberg messages,

via dealer-to-sales-desk-to-dealer channels, and on online platforms closed to retail investors.

Given the persistence and magnitude of supracompetitive corporate bond odd-lot pricing, it

appears that Defendants use these channels of interfirm communication to collude, rather than to

find ways to compete that would improve prices for odd-lot investors.

       C.      The Higher Prices for Odd-Lot Transactions Have Persisted Even as
               Advances in Electronic Trading Have Driven Defendants’ Trading Costs
               Down and Demand for Odd-Lot Bond Transactions Has Increased

       125.    Third, the persistence of higher pricing for odd-lots is further evidence that

Defendants are colluding.

       126.    Given the significant and growing share of the market that odd-lot trading

represents – odd-lots are approximately 90% of daily trades in corporate bonds, 18% of trading by

volume, and have been growing since 2006 – Defendants should be vigorously competing over

odd-lot pricing to capture this market. Instead, odd-lot investors continue to face spreads that are

wider than those offered to round-lot investors in the same underlying corporate bonds.

       127.    The higher pricing for odd-lots is even more incongruous given the advances in

electronic trading, transmission, and recordkeeping that have made OTC bond trading more

efficient and less costly to Defendants. These advances should have led to improvements in odd-


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lot trading costs, as cost-savings to the Defendants were passed on, via competition, to investors.

That odd-lot investors instead still face much higher pricing compared to round-lot investors in the

same underlying corporate bonds is further evidence of collusion.

       DEFENDANTS ENGAGED IN A PATTERN OF COLLUSIVE EFFORTS TO
       RESTRICT COMPETITION FROM THOSE ELECTRONIC PLATFORMS
       THAT SOUGHT TO IMPROVE PRICING FOR ODD-LOT BOND INVESTORS

       128.    Defendants, as the top dealers by market share, admit that they view e-platforms as

a threat to their business.21 E-platforms have the ability to allow Plaintiff and the Class to trade

corporate bonds with greater transparency and significantly less cost, i.e., with narrower bid-offer

spreads. Therefore, in order to maintain a wider bid-offer spread on odd-lots of corporate bonds,

Defendants have engaged in a pattern of anticompetitive collusion to restrict competition from

those electronic platforms seeking to improve pricing for odd-lot bond investors and seeking to

compete with Defendants in this market.

       129.    As Bloomberg recently reported:

       Today, about 80 percent of U.S. bond deals are still done by phone or over chat.
       There aren’t any exchanges and everything is negotiated, which gives dealers the
       upper hand when it comes to where the market is for a given bond. It’s a situation
       that has enabled the biggest firms, like JPMorgan and Goldman Sachs, to keep a
       stranglehold on the market.

       And it’s not like they have much incentive (or even the legal obligation) to change.
       The bond market is littered with startups that have tried – and failed – to loosen
       Wall Street’s grip on bond trading and make it more efficient. Names like
       BondBook, Bond Connect, BondGlobe, BondHub, BondLink and XBond . . .
       flopped.22




21
       Greenwich Associates, supra note 20 at 3.
22
       Nick Baker and Matthew Leising, Goldman alum wants to revolutionalize bond trading,
BLOOMBERG (June 25, 2018), https://www.theledger.com/news/20180625/goldman-alum-wants-
to-revolutionalize-bond-trading.



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         130.   Defendants’ collusive conduct included: investing in and acquiring control of

various electronic platforms to ensure they did not threaten to improve pricing for odd-lot investors

(including one platform, TradeWeb, that was co-owned by all Defendants and used repeatedly to

acquire and shut down platforms that threatened to provide pre-trade pricing transparency and

increase pricing competition for retail odd-lot investors); engaging in a group boycott of other

retail-focused (and therefore odd-lot focused) electronic trading platforms; denying liquidity to

electronic platforms that might improve price competition for retail odd-lot investors; and using

their market power to deny and/or delay access to essential facilities that competing retail-focused

electronic platforms required to enter the secondary market for trading of odd-lots of corporate

bonds.

         131.   As a result of Defendants’ coordinated and collusive conduct, the only electronic

platforms that have survived and secured any significant share of corporate bond trading are owned

in part by Defendants, are only open to institutional investors, and/or effectively exclude retail

investor odd-lot trades.

         A.     Defendants’ Joint Ownership of TradeWeb Allowed Them to Stifle
                Competition from Electronic Platforms that Threatened to Improve Odd-Lot
                Pricing

         132.   TradeWeb was founded in 1996 (with its first electronic marketplace going live in

1998) by Jim Toffey, a former Credit Suisse employee. Initial funding came from Credit Suisse,

Lehman Brothers (later acquired by Barclays), Salomon Smith Barney (later acquired by

Citigroup), and Goldman Sachs. By 2004, TradeWeb has added Citigroup, Merrill Lynch, Morgan

Stanley, JPMorgan, and Deutsche Bank to its consortium of owners.

         133.   TradeWeb initially focused on Treasury bonds, but it was soon apparent that its

platform could work for corporate bond trading as well.




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        134.    News reports from this period suggest that Defendants invested in TradeWeb out

of fear that emerging electronic markets would decrease their market power in corporate bonds.

In 2001, Forbes explained that “TradeWeb came to life as much out of fear as out of efficiency.

For brokers, electronic ordering systems threatened to squeeze already thin margins even further.

But unlike new digital startups that sought to eliminate established intermediaries, TradeWeb was

created with the aim of maintaining the status quo. TradeWeb helps existing bond brokers and

dealers do their jobs faster.”23

        135.    A 2000 Euromoney article laid the situation out in even starker terms, describing

TradeWeb was “the textbook case on the politics of multi-bank consortia.”24 The Euromoney

article cited an example where TradeWeb’s bank owners founded rival platforms to TradeWeb,

either to hedge their bets or to weaken TradeWeb itself. According to the Euromoney article,

TradeWeb shareholders Goldman Sachs, Merrill Lynch, and Morgan Stanley founded BondBook

as an attempt to preempt TradeWeb’s entry into the non-treasuries bond market. Summing up the

situation, the Euromoney article explained that “ultimately TradeWeb is only as independent as

the seven banks [that own it] want it to be. And all of them are invested in other models: five are

in BondBook (Deutsche, Goldman, Merrill [now owned by Bank of America], Morgan Stanley,

Salomon [now owned by Citigroup]) and the other two, CSFB [Credit Suisse] and Lehman [now

owned by Barclays], are in Market Axess.”

        136.    The same Euromoney article quoted one unnamed “head of investment banking e-

commerce at a US investment bank” as saying, “[h]aving a stake in BondBook or Market Axess



23
       Neil Weinberg, B2B Grows Up, FORBES (Sept. 10, 2001), https://www.forbes.com/
best/2001/0910/018.html.
24
        Antony Currie, Could TradeWab unravel from inside?, EUROMONEY (Dec. 1, 2000),
https://www.euromoney.com/article/b1320hxsf8zy1x/could-tradeweb-unravel-from-inside.



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is a way of replacing money which we made on market making but which will be lost once it goes

electronic[. . . .] That’s why we run them as for-profit businesses [rather than utilities]. But if an

anonymous platform such as BondBook [or TradeWeb or Market Axess] succeeds, it will kill

market-making profits for everyone. So if you’re not an equity holder, you lose revenues and you

get no compensation for it.”25 Defendants’ purchase of anonymous platforms that would otherwise

introduce efficiencies to odd lot trading and threaten cartelist profits is a game of “catch and kill”

that enables the Defendants to maintain their ability to extract monopoly rents from Plaintiff and

the Class.

       137.    In 2004, Thomson Reuters purchased TradeWeb from its dealer bank owners. At

least one source has attributed this sale to “regulatory concerns over potential conflicts of interest

and competition issues in dealer-owned networks.”26 Indeed, in 2000, the Department of Justice

had issued antitrust civil investigative demands to similar electronic bond trading platforms

BondBook, BondDesk, and MarketAxess, and contacted Merrill Lynch, Salomon Smith

Barney/Citigroup, Morgan Stanley, and Deutsche Bank as part of a probe the DOJ described as an

effort to look into “the competitive effects of certain joint ventures in the online bond trading

industry.”27




25
       Id.
26
        Wall Street firms pay $180 million to buy back into TradeWeb, FINEXTRA (Oct. 11, 2007),
https://www.finextra.com/newsarticle/17582/wall-street-firms-pay-180-million-to-buy-back-
into-tradeweb.
27
       John Parry, Online Bond Trading Tie-Ups Highlight an Antitrust Issue, WSJ (May 10,
2001), https://www.wsj.com/articles/SB989513870694056329.



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       138.    As part of the sale of TradeWeb to Thomson Reuters, however, the Defendants

agreed to a four-year contract whereby “the founding investment banks . . . would steer liquidity

to TradeWeb.”28

       139.    With that deal scheduled to end in 2008, Thomson Reuters “realized the banks

would take their liquidity and shop it around, which would threaten the value of TradeWeb.”29 To

prevent that from happening, Thomson Reuters proposed “Project Fusion,” a joint ownership

structure that went into effect in January 2008 that gave minority ownership stakes in TradeWeb

to Credit Suisse, Goldman Sachs, Lehman Brothers (later acquired by Barclays), Merrill Lynch

(later acquired by Bank of America), Morgan Stanley, JPMorgan, Deutsche Bank, and RBS.30 In

April 2008, Citigroup acquired an equity stake in TradeWeb as well.31

       140.    Defendants’ ownership of TradeWeb (as well as other platforms, such as

MarketAxess) gave them both the ability to shut out retail odd-lot investors from using these

platforms, and the ability to use TradeWeb as a “stalking horse” to catch and kill would-be

electronic platforms that threatened to offer better transparency and pricing to retail odd-lot

investors (as discussed further below). To this day, TradeWeb does not offer retail investors

access, and continues to maintain a dealer-to-dealer market structure rather than all-to-all trading.




28
        Ivy Schmerkin, BREAKING NEWS: Thomson Plans to Spin Off TradeWeb, WALL STREET
&      TECHNOLOGY      (Oct.   10,    2007),    https://web.archive.org/web/20170109021802/
http://www.wallstreetandtech.com/trading-technology/breaking-news-thomson-plans-to-spin-off-
tradeweb/d/d-id/1258992.
29
       Id.
30
       Id.
31
        Thomson Corp., Citi Takes Equity Stake in TradeWeb, MARKETSCREENER (April 8, 2008),
https://www.marketscreener.com/THOMSON-CORP-14638/news/Thomson-Corp-Citi-Takes-
Equity-Stake-in-Tradeweb-491596/.



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         B.     Defendants’ Group Boycott and Collusive Effort to Deny and/or Delay
                ABS/NYSE Bonds from Gaining Access to Bloomberg’s Trade Order
                Management System (“TOMS”)

         141.   As discussed above, prior to the Great Depression, exchange-based trading of

corporate bonds predominated in the United States. In 1976, the New York Stock Exchange

(“NYSE”) attempted to revitalize bond exchange trading by introducing the Automated Bond

System (“ABS”), an electronic bond order book with time and price priority. The ABS originally

allowed trading in 1,000 debt securities, including corporate bonds.

         142.   However, despite backing by the NYSE and the historical success of exchange-

based trading for corporate bonds, ABS failed. By 2002, only 5% of all corporate bonds were

listed on ABS for trading. By 2006, only 333 U.S. corporate bonds (around 1% of the total number

of unique TRACE-eligible corporate bonds traded that year) traded on ABS.

         143.   In 2007, ABS was replaced by NYSE Bonds, which stated that its goal was to allow

trading in 6,000 debt securities, mostly corporate bonds. 32 NYSE Bonds offered pre-trade

transparency for investors on pricing, and had a pro-investor impact on bond pricing: a 2014 study

found that corporate bonds listed on NYSE Bonds between 2008-2011 had bid-offer spreads –

even when traded OTC – that were 10 basis points lower than comparable bonds not listed on

NYSE Bonds and only traded OTC.33 The positive effect on prices found for investors applied to

all sizes of trades, but was greatest for so-called retail-sized trades of less than $100,000.

         144.   Despite its success at improving transaction costs for bond investors (in particular

retail bond investors trading exclusively in odd-lots), NYSE Bonds failed to gain traction in trading


32      Liz Moyer, NYSE Plunges Into Bonds, FORBES (March 23, 2007),
https://www.forbes.com/2007/03/23/nyse-bonds-trading-biz-cx_lm_0323nyse.html#e370b23d7
d3e.
33
         Fan Chen and Zhuo Zhong, Pre-Trade Transparency in Over-the-Counter Markets (July
2014).



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among dealers. As of November 2017, only 25 bond dealers continued to participate in NYSE

Bonds. Even this number might overstate participation in trading corporate bonds on NYSE Bonds

– NYSE Bonds does not identify what dealer participants trade in or at what volumes they trade,

so participants may be trading only limited numbers of corporate bonds, or even none at all, since

NYSE Bonds also provides municipal bond trading, and U.S. and foreign government bond

trading.

       145.    ABS and NYSE Bonds failed to achieve larger-scale success among investors

because of (a) a concerted boycott of the platforms by Defendants, and (b) collusive efforts by

Defendants to deny or delay NYSE Bonds access to the Bloomberg TOMS, an essential facility

necessary for any newcomer seeking to participate in and compete within the corporate bond

market. By impeding the growth and success of ABS and NYSE Bonds, Defendants hindered

increased pre-trade price transparency in the odd-lot bond market, thereby preventing increased

price competition within that market.

       146.    Defendants engaged in a group boycott to not provide or allow order flow to

ABS/NYSE Bonds, or to severely limit such order flow to a small number of corporate bond

issuances.

       147.    All entities trading securities electronically use trade order management systems

for execution, administration, accounting, compliance, and other related trading needs. Generally

speaking, a given type of security will only have one dominant trade order management system,

as it is time- and cost-prohibitive for all parties to support multiple systems.

       148.    A new entrant in the electronic trading market for a given security must offer

connectivity to the pre-existing dominant trade order management system in place for that security.

These trade management systems are necessary portals to the market for electronic trading in that




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type of security, and, as such, are essential facilities for any new electronic trading platform market

entrant.

       149.    With respect to the electronic trading of corporate bonds, the sole trade order

management system in place in the market during the Class Period is Bloomberg’s TOMS.

Bloomberg advertises TOMS as “deliver[ing] global, multi-asset solutions for front-end inventory,

trading and middle- and back-office operations” that allow users to “optimize your voice and

electronic trade workflow, increase global distribution to markets, manage risk and compliance

and improve operational efficiency.” Everyone trading corporate bonds electronically, including

Defendants, must use Bloomberg TOMS. Thus, access to Bloomberg TOMS is essential for

participating and competing in this market.

       150.    Obtaining access to Bloomberg TOMS should have taken a short period of time for

NYSE Bonds, particularly given the general significance and power of the New York Stock

Exchange – at most, five months. Instead, NYSE Bonds was not given a connection to Bloomberg

TOMS for 18-19 months – a delay that crippled NYSE Bonds’ ability to gain traction in the

electronic bond trading market.

       151.    Defendants – who are large financial institutions with significant accounts with

Bloomberg’s separate and profitable Bloomberg terminal business – used their market power and

value to Bloomberg as Bloomberg terminal customers to force Bloomberg to materially delay

NYSE Bonds’ connection to the essential facility of Bloomberg TOMS. Defendants forced

Bloomberg to delay NYSE Bonds’ connectivity through Bloomberg TOMS, by threatening to

terminate or reduce their Bloomberg terminal leases if Bloomberg failed to do so.

       C.      Defendants’ Refusal to Participate with Bonds.com

       152.    Another example of Defendants’ collusive conduct designed to prevent competition

from electronic platforms is their refusal to deal with Bonds.com.


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       153.    Bonds.com was founded in 2005 by John J. Barry IV, a former bond underwriter

and trader at ABN-AMRO Bank. According to Barry, Bonds.com had “a single goal in mind:

Empower the self-directed individual and institutional investors with a no cost trading platform,

enabling execution, aggressive pricing and education in the fragmented fixed income market

place.”34 Bonds.com sought to do this with electronic, all-to-all, anonymous exchange-like trading

focused on retail and institutional investors transacting in odd-lots of corporate bonds.

       154.    Bonds.com’s initial bond trading platform, BondStation, launched in January 2008,

and was open to both retail and institutional investors. BondStation’s marketing materials boasted

that it was “The End of the Middle Man” and cast itself as the solution to “Price gauging [sic] by

dealers” that could result in markups of “3% or more along the way,” with “100% price and product

visibility,” “fee-less transactions,” and “no liquidity provider fees.”

       155.    After just three months, however, Bonds.com jettisoned BondStation’s retail odd-

lot focus amidst pressure from dealers such as Defendants.            In April 2008, the company

“[r]efocused from the retail segment to the institutional segment due to market conditions and

other economic factors.” One of those “market conditions” was a group boycott of the retail-

focused BondStation by dealers. The majority of trades executed on BondStation remained retail

up through May 2008; after that point, institutional trades predominated.

       156.    In 2010, the company discontinued its use of BondStation and its service for

“institutional and self-directed individual fixed income investors,” and shifted to a platform called

BondsPro, which “offers professional traders and large institutional investors an alternative trading

system to trade odd-lot fixed income securities.” This shift to a focus on institutional odd-lot


34
       Bonds.com CEO John J. Barry IV Provides Comprehensive Company Update in Open
Letter to Investors, BONDS.COM, http://files.shareholder.com/downloads/BONDS/0x0x239374/
45717632-ec8f-4b11-80b1-97b56386fa33/BDCG_News_2008_10_7_General_ Releases.pdf.



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investors rather than retail investors allowed Bonds.com to secure two rounds of funding to

continue operations. BondsPro, however, continued to allow all-to-all, anonymous, exchange-

style trading – trading that would eliminate Defendants as middlemen, or force them through

anonymous pricing competition to lower odd-lot bid-offer spreads.

        157.    Between 2012 and 2013, Bonds.com sought order flow and participation on its

BondsPro platform from major corporate bond dealers like Defendants, including Bank of

America, JPMorgan, and Morgan Stanley, among others.

        158.    None of the dealers would participate with Bonds.com. Bank of America indicated

that it had interest in participating on BondsPro, but that it could not do so due to the blowback it

would suffer from other dealers. Bank of America stated that it would only be willing to participate

on Bonds.com if at least one or two of the larger dealer banks (such as Morgan Stanley or

JPMorgan) also participated and could provide it cover from retribution.

        159.    As a result of this group boycott by Defendants of Bonds.com’s all-to-all,

anonymous odd-lot trading platform, Bonds.com ran out of money by late 2013 and was sold in

2014 to MTS, a subsidiary of the London Stock Exchange Group.

        D.      Defendants Abused Their Board Positions on BondDesk to Remove
                Leadership that Had Pursued Offering Retail-Sized Odd-Lot Investors More
                Transparency and Better Pricing

        160.    BondDesk was founded in 1999 as a bond platform designed to “effectively

distribute dealer inventory to regional broker-dealers, smaller shops and investment advisors.”35

From its inception, BondDesk focused on retail-sized trades and catered to investment advisors

representing retail investors, but it was not directly open to retail clients.



35
        See REUTERS: Alternative trading system BondDesk up for sale (Aug. 31, 2013),
https://www.reuters.com/article/idUS6254185320130901.



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        161.   By 2004, BondDesk had grown to a 100-employee company. Much like TradeWeb

and MarketAxess, however, it had sold ownership stakes to 14 major banks, including Defendants

such as Goldman Sachs, Bank of America, JPMorgan, and Wells Fargo.

        162.   In exchange for their investments in BondDesk, Goldman Sachs, Bank of America,

JPMorgan, and Wells Fargo (themselves or via predecessors they later acquired) eventually

secured six of the 11 seats on the Board of Directors of BondDesk in 2004 for individuals affiliated

with Defendants: Brad Levy (Goldman Sachs), Richard Kolman (Goldman Sachs), Matthew

Frymier (Bank of America), Charles Forrest (A.G. Edwards, later acquired by Wells Fargo),

Ronald Hersch (Bear Stearns & Co., later acquired by JPMorgan), and Thomas Hoops (First Union

Investors, Inc., later acquired by Wells Fargo).

        163.   Despite investing in BondDesk, Defendants saw the innovations that BondDesk

and its management had introduced to the bond market (including in regard to improving

transparency and price competition for odd-lots) as a threat to the supracompetitive profitability

they enjoyed from wider bid-offer spreads on odd-lots of corporate bonds.

        164.   In response to this threat, Defendants conspired to use their positions on the

BondDesk board to remove the existing management of BondDesk from their day-to-day

leadership positions at the company in 2004. Brad Levy and Matthew Frymier, in particular, lead

this effort.

        165.   Defendants pressured the leadership of BondDesk to leave by raising false concerns

with the rest of BondDesk’s board about the accounting BondDesk used for stock options. At the

time, BondDesk used Grant Thornton as its outside accounting firm.

        166.   Levy and Frymier began by reaching out to Grant Thornton’s partner in charge of

the BondDesk account, and encouraged him to raise a red flag regarding the existing accounting




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treatment for stock options and the need to restate BondDesk’s accounting statements. Levy and

Frymier realized that if there were any improprieties in the stock option accounting treatment,

management, would be held responsible.

       167.    In exchange for raising the red flag, Levy and Frymier offered to refer additional

accounting clients to Grant Thornton.

       168.    Grant Thornton agreed to raise the red flag requested by Levy and Frymier, and the

board (again controlled by a majority of directors affiliated with Defendants) used this stock

options accounting issue as a ruse for a vote to remove BondDesk management, who was not

supportive of the Defendants’ interest in maintaining a corporate bond market in which odd-lot

investors had little transparency and where Defendants could realize supracompetitive profits from

wider bid-offer spreads resulting from them not having to compete.

       169.    After odd-lot supportive management was forced out of or sidelined from

BondDesk management, the Grant Thornton review of the stock options accounting issue was

resolved without any changes being made to the existing accounting procedure.

       E.      Defendants Use TradeWeb (Which They Owned) to Acquire BondDesk and
               Permanently Foreclose BondDesk as a Retail-Focused Platform

       170.    Later, in 2006, Advent International Corporation, a private equity firm, bought a

majority stake in BondDesk Group from its bank owners, thereby freeing BondDesk to pursue

business from (and improve prices for) retail-focused odd-lot traders. As a first step in this process,

BondDesk announced in 2007 that it was extending its “online odd-lot fixed-income marketplace

to institutional traders and portfolio managers,” but not retail investors directly. It did so via its

BondDesk Institutional platform, which “connect[ed] broker-dealers through a centralized

marketplace by offering a diverse pool of liquidity.”36


36
       See BondDesk Extends Largest Online Odd-Lot Fixed Income Marketplace, BUSINESSWIRE


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       171.    By 2011, BondDesk was facilitating roughly a third of all retail-sized trades and

was the primary bond trading platform for retail odd-lot-sized trades by several major retail and

institutional investment advisors. As one industry participant stated, BondDesk was “help[ing]

the consumer to not absolutely get killed. Consumers can buy 10 bonds for not so much higher a

spread than what institutions pay for 10,000 bonds.”37

       172.    In August 2011, BondDesk hired Kim Bang from Bloomberg to be its CEO.

Mr. Bang announced that his plan was to roll out a technology system at BondDesk for direct retail

trading without the involvement of portfolio managers – directly threatening Defendants’ role as

intermediaries in the OTC market and the supracompetitive bid-offer spreads they charged retail

odd-lot investors. To this end, Mr. Bang implemented Bond Works, which created workstations

for advisors and brokers to have direct access to BondDesk’s fixed income wealth management

platform. Nineteen out of the top 20 bond brokers, including E*Trade, were expected to use Bond

Works, which would eventually enable retail investors to access BondDesk for trading directly.

       173.    By November 2011, BondDesk had also announced a partnership with Trade West

Systems, a division of MarketAxess, to enable “BondDesk clients to seamlessly source liquidity

from third party platforms . . . in effect creating a retail supermarket for bonds.”38 This service

was immediately made available to BondDesk’s dealer clients, but not retail investors. In August




(May 29, 2007), https://www.businesswire.com/news/home/20070529005238/ en/BondDesk-
Extends-Largest-Online-Odd-Lot-Fixed-Income-Marketplace.
37
      See Brooke Southall, Executive leaves Bloomberg with ambitious plan to unify the retail
bond market, RIABIZ (Aug. 18, 2011), https://www.riabiz.com/a/2011/8/19/executive-leaves-
bloomberg-with-ambitious-plan-to-unify-the-retail-bond-market.
38
       See BondDesk Announces Partnership with Trade West Systems to Include Aggregation to
Extend to Rival Platforms, BUSINESSWIRE (Nov. 21, 2011), https://www.businesswire.com/
news/home/20111121005163/en/BondDesk-Announces-Partnership-Trade-West-Systems-
Extend.



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2013, BondDesk reaffirmed its commitment to making “fixed income markets more transparent

and accessible to retail investors” by temporarily making its Factsheet bond pricing service free of

charge to any investor (up until then, the service had only been available to financial advisors using

BondWorks).39

       174.    Threatened by these moves that would provide greater price transparency to retail

odd-lots investors and allow retail investors the opportunity to trade outside of the Defendant-

controlled and intermediated OTC market, Defendants took action. Specifically, TradeWeb – an

electronic platform open only to institutional investors and owned in part by Bank of America

Merrill Lynch, Barclays, Citigroup, Goldman Sachs, JPMorgan, and Morgan Stanley – acquired

BondDesk on November 1, 2013 for a rumored $200 million (which was significantly less than

Advent had paid for it in 2006, and bewildering given BondDesk’s growth and the high and

increasing proportion of trades that were occurring via BondDesk in the odd-lot market).

       175.    Initial reports suggested that BondDesk’s purchase by TradeWeb would present an

opportunity for TradeWeb to expand into retail bond trading and to break the boundaries between

retail and institutional liquidity. Reuters noted that BondDesk’s sale was an opportunity to

“improve how bonds are presented to retail customers” and to “make pre-trade pricing and

benchmarks more accessible. . . . [the] BondDesk platform is the perfect place for this information

to be available. Its new owner could take the lead in the odd-lot market.”40

       176.    Rather than use BondDesk’s promise to improve trading, transparency, and

ultimately prices for retail investors, Defendants (via TradeWeb) instead closed off BondDesk



39
      See BondDesk’s Bond Factsheet Service Now Free for a Limited Time to All Investors,
BUSINESSWIRE (Aug. 14, 2013), https://www.businesswire.com/news/home/20130814005758/en/
BondDesk%E 2%80% 99s-Bond-Factsheet-Service-Free-Limited-Time.
40
       See Reuters, supra note 35.



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access for retail investors, unless those investors were acting through Defendants or other

institutional investors/dealers as middlemen. BondDesk was folded into TradeWeb Direct – a

platform that provided RFQ and click-to-trade trading in odd-lots, but was only open to

institutional investors and dealers.41

       177.    Today, TradeWeb Direct (formerly BondDesk) facilitates one in seven corporate

bond trades reported to TRACE. All of these trades, however, occur through dealers such as

Defendants, as TradeWeb Direct is “on the desktop of every financial adviser at UBS, JPMorgan,

Stifel Nicholas, RBS, Raymond James, BBNT, RW Baird. . . . [and in] pre-rollout/pilot stage at

Morgan Stanley, Wells Fargo, Ameriprise Financial, Vanguard, and Fidelity.”42 Investors trading

in odd-lots of corporate bonds through TradeWeb/BondDesk continue to have higher bid-offer

spreads than round-lots of the same underlying bonds as a result of Defendants preventing

BondDesk from becoming an actual direct trading platform for retail investors in odd-lots.

       F.      Retail Focused Electronic Platforms for Trading Bonds Failed Due to
               Defendants’ Resistance

       178.    Defendants’ agreement to prevent competition from electronic platforms focused

on retail bond investors dealing in odd-lots spanned nearly 20 years.

       179.    In the late 1990s, with the advent of the internet, there was an explosion of bond e-

trading startup companies. According to a 2001 report by the Tuck School of Business at

Dartmouth, 89 fixed-income trading platforms existed in the first quarter of that year.43 Almost


41
       A FAQ on TradeWeb’s website notes that “you must be an institutional investor to trade
on TradeWeb” and that you are required to be “set up with dealers to trade on TradeWeb.”
42
       See https://events.wealthmanagement.com/tradeweb-direct/ (last visited April 20, 2020).
43     Examples of such platforms included BondConnect, BondGlobe, BondHub, BondLink,
Intervest, Visible Markets, XBond, Limit Trader, and Trading Edge. See Jake Thomases,
Corporate Bonds: The Lost Generation of Corporate Bond Platforms, WATERSTECHNOLOGY
(May 31, 2013).



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all of these late 1990s-early 2000s electronic trading platforms for corporate bonds failed within a

few years. While some lacked sufficient capitalization, others had sub-standard technology, and

still others had flawed business models, the largest impediment to the success of these platforms

was (and remains) the resistance of Defendants. As one journalist noted:

        Sell-side resistance to the wave of new [electronic] platforms was motivated by
        profit-and-loss (P&L). Dealers controlled the corporate bond trade. Something
        like an order book or matching system, where the buy side can trade directly with
        each other, would have pushed them farther toward the sidelines. It is believed
        that they helped eliminate those platforms which might otherwise have gained
        traction and cut them out. . . .

        [A 2013] Tabb [Group] poll . . . showed 75 percent of [dealer] respondents calling
        “vested interests” the biggest reason why central limit order books [a.k.a.
        exchange-based electronic platforms] have had trouble finding a foothold in fixed
        income.44

       180.    Even when such electronic platforms had success, they were quickly acquired and

shuttered by Defendant-backed platforms, as occurred with BondDesk. For instance, Trading

Edge had some success in 1999-2000 with an exchange-like electronic trading platform that

allowed anonymous matching on bond trades designed to increase available liquidity to investors

and thereby decrease bid-offer spreads.

       181.    However, in March 2001, Trading Edge was acquired by MarketAxess, an

electronic trading platform open only to institutional investors and founded in 2000 by, among

others, JPMorgan. As late as 2011, JPMorgan Asset Management Holdings Inc. still held a 17.5%

stake in MarketAxess. Richard McVey, CEO of MarketAxess, said that the company “believe[s]

investor response to having both multi-dealer and anonymous trading models on one platform will

be overwhelmingly positive,” and MarketAxess stated that it would integrate Trading Edge’s




44
       Id.



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anonymous trading capability to its current platform, offering investors the option of immediate

liquidity through disclosed counter party or anonymous trading.

        182.    However, within seven months of the acquisition, MarketAxess shuttered Trading

Edge’s anonymous trading platform, stating that it had “decided to terminate [Trading Edge’s]

anonymous convertible and municipal bond trading platforms and currently offer U.S. corporate

bond and emerging bond trading on a fully disclosed [i.e., non-anonymous] basis only.” As one

analyst later noted, Trading Edge was “an anonymous model that could have threatened

MarketAxess’s business model” – and also therefore threatened the centrality and control over bid-

offer spreads that MarketAxess’s bond dealer backers (including Defendants) enjoyed.

        G.      The Survival of Electronic Platforms that Are Only Open to Institutional
                Investors Is Further Proof of Defendants’ Anticompetitive Conduct

        183.    Platforms restricted to institutional investors are the only corporate bond electronic

trading platforms on which Defendants participate, and hence, the only platforms that have

survived. This is perhaps the best evidence that Defendants agreed to stop the emergence of

electronic trading platforms that sought to increase pre-trade pricing transparency and increase

pricing competition for retail investors trading in odd-lots.

        184.    At present, three electronic trading platforms – MarketAxess, TradeWeb, and

Bloomberg – represent approximately 97% of the market in electronic trading of corporate bonds.

All three of these platforms have significant relationships with Defendants, and all three of these

platforms are only available to institutional investors.

        185.    Defendants collectively held a 46% ownership stake in TradeWeb as of the filing

of its Form S-1 Registration Statement with the SEC on March 7, 2019 as part of TradeWeb’s

initial public offering.




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       186.    While Bloomberg is not itself a dealer, its business is significantly dependent upon

its relationships with dealers such as Defendants, who utilize and subscribe to both the Bloomberg

TOMS for corporate bonds, and the extensive Bloomberg terminal system.

       187.    While not exchange-based trading platforms (they are more accurately described as

electronic versions of traditional OTC trading), these three electronic trading platforms

nonetheless allow investor-to-investor direct trading (without intermediary dealers), and increase

pre-trade pricing transparency, which results in better competition on pricing and lower

transactional costs for institutional investors trading in corporate bonds.

       188.    All three platforms also allow their institutional investor customers to trade in odd-

lot transactions, demonstrating that these platforms could accommodate retail investors dealing

exclusively in odd-lot transactions.

       189.    Despite this fact, all three of these electronic trading platforms are closed to retail

investors – investors who deal exclusively in odd-lot transactions. Even as other markets with a

great deal of risk to investors – foreign exchange, options, futures, stocks – are open to retail

investors on electronic platforms, the corporate bond market remains closed.

       190.    Another recent site in the U.S. corporate bond space, BondCliQ, is an electronic

quote feed that claims to be attempting to modernize corporate bond trading by “enabl[ing] all

participants to see the same quotes, including size, at the same time.” BondCliQ provides quotes

from dealers on corporate bonds, but requires participants to arrange trades themselves rather than

providing a platform for direct trading.

       191.    While BondCliQ has persuaded four of the top 10 U.S. corporate bond underwriters

to provide quotes on the site, it has only secured this participation because, like MarketAxess,

TradeWeb, and Bloomberg, it is only open to institutional round-lot traders, advertising that it is




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“focused on improving the institutional >=$1MM market for corporate bonds.” BondCliQ again

demonstrates that Defendants are only willing to participate in improving pre-trade price

transparency and competition for institutional round-lot traders, and will not participate if such

benefits might flow to retail investors so as to maintain their supracompetitive pricing on retail

sized odd-lot trades.

       192.    The fact that electronic trading platforms (like MarketAxess, TradeWeb, and

Bloomberg) and electronic pricing services (like BondCliQ) with pre-trade pricing transparency

and greater competition on pricing for odd-lots of corporate bonds are open to institutional

investors, but not retail investors, defies any economic, competitive justification. Plaintiff and the

Class members bought odd-lots of the corporate bond CUSIPs they traded in at higher prices and

sold odd-lots of the corporate bond CUSIPs they traded in at lower prices as a result of this, and

other, anticompetitive conduct by Defendants.

       DEFENDANTS HAVE AN ESTABLISHED HISTORY OF COLLUSION IN THE
       FINANCIAL MARKETS

       193.    Defendants’ anticompetitive conspiracy to restrict competition on pricing for odd-

lots of corporate bonds is not an isolated occurrence. Defendants engaged in multiple, similar

anticompetitive conspiracies in other markets for financial instruments during the Class Period that

led to government investigations, criminal trials and convictions, billions of dollars in fines, and

successful litigation by injured investors.

       194.    These findings further support the conspiracy alleged in this complaint because they

demonstrate that each Defendant had a willingness to collude in precisely this fashion before

(and/or colluded in other anticompetitive ways in connection with financial instruments), and/or

deficient compliance and oversight systems in their sales and trading businesses during the Class

Period to prevent this type of conduct. Furthermore, this history of past anticompetitive collusion



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in the financial markets supports the feasibility and plausibility of the anticompetitive odd-lot

conspiracy alleged herein, and Defendants’ failure to employ sufficient compliance and oversight

systems in their sales and trading businesses to detect such anticompetitive conduct during the

Class Period.

       A.       Credit Default Swaps

       195.     The Credit Default Swaps (“CDS”) litigation 45 involved Defendants Bank of

America, Barclays, Goldman Sachs, JPMorgan, Morgan Stanley, and Citigroup, along with several

other entities. These dominant financial firms in the OTC market for CDS – who had been

enjoying supracompetitive profits from inflated bid-offer spreads in the market as a result of the

inefficiency of the market and their privileged role as dealer intermediaries in it – conspired to

successfully boycott electronic exchanges and clearinghouses for CDS transactions that would

have introduced price transparency and other efficiencies that would lower bid-offer spreads for

investors, to the detriment of the CDS defendants’ supracompetitive profits.

       196.     The CDS litigation ultimately settled, with the CDS defendants agreeing to

collectively pay over $1.86 billion to plaintiffs harmed by the antitrust conspiracy. The conduct

in the CDS litigation was almost identical to the anticompetitive conduct alleged in this complaint,

and the CDS litigation involved all of the same defendants as this complaint.

       B.       LIBOR/Euribor/Yen LIBOR/Swiss Franc LIBOR

       197.     Government investigations and civil lawsuits have revealed widespread collusion

among banks to manipulate benchmark interest rates for multiple currencies (U.S. Dollar LIBOR,

Euribor, Yen LIBOR, Swiss franc LIBOR). These investigations have led to fines of upwards of

$9 billion and civil settlements over $500 million for price fixing. Barclays, Bank of America,


45
       In re Credit Default Swaps Antitrust Litigation, No. 13-md-2476 (DLC) (S.D.N.Y.).



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Deutsche Bank, Citigroup, and JPMorgan have all been fined or plead guilty. Regulators found

that these banks engaged in widespread misconduct, including coordinating false submissions by

panelists to the benchmark-setting panel, sharing customer and order information, and

manipulating market prices by submitting false orders (i.e., “spoofing”).

       C.      Foreign Currency Exchange Spot Market

       198.    Defendants in this complaint have also been accused of fixing bid-offer spreads,

coordinating trading strategies with competitors to manipulate benchmark prices, and sharing

confidential customer order information and proprietary information on trading positions with

competitors in the foreign exchange (“FX”) market.

       199.    Investigations by financial regulators from around the globe resulted in criminal

guilty pleas, settlements, and fines totaling over $11 billion, as well as the release of orders,

notices, and reports detailing exactly how the banks colluded to manipulate the FX market.

       200.    For instance, the Commodity Futures Trading Commission (“CFTC”) and U.K.

Financial Conduct Authority entered orders imposing over $2.17 billion in fines on JPMorgan,

Citigroup, Barclays, and other entities for manipulating the FX market. The Office of the

Comptroller of the Currency likewise fined Bank of America, JPMorgan, and Citigroup another

$950 million for manipulation, collusion, and other market abusive conduct in the FX market.

Additionally, on May 20, 2015, the DOJ announced that JPMorgan, Barclays, and Citi (along with

other entities) were fined a total of over $2 billion by the DOJ, and each pled guilty to criminal

conspiracy charges for manipulating FX prices and the benchmark rates. And the Federal Reserve

imposed more than $1.4 billion in additional fines on Bank of America, JP Morgan, Barclays,

Citigroup, Deutsche Bank, and Goldman Sachs (along with other entities) for their “unsafe and

unsound practices in the foreign exchange markets,” and the NYDFS fined Barclays, Credit Suisse,

Deutsche Bank, and Goldman Sachs (along with other entities) a total of over $879 million for


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conspiring with other banks, including JPMorgan, to manipulate FX prices. In May 2019, the

European Commission fined Barclays, Citigroup, and JPMorgan (along with other entities) about

$840 million for taking part in two cartels in the spot FX market.

       D.      Interest Rate Swaps (“ISDAfix”)

       201.    Bank of America, Goldman Sachs, and JPMorgan (along with other entities) have

collectively paid over $222 million to settle private antitrust and common law claims concerning

these banks’ collusive manipulation of the ISDAfix benchmark. Goldman Sachs paid an additional

$120 million to settle “particularly brazen” manipulation of the ISDAfix benchmark; Barclays and

Citigroup, too, have paid large settlement sums to the CFTC for their manipulation of ISDAfix.

       202.    The Defendants’ misconduct related to ISDAfix was undertaken, like that described

above, to line their own pockets at the expense of their customers and competition, providing

another illustration of a lack of internal controls, horizontal collusion between Defendants that

harmed competition and increased prices, and a culture where preserving the bottom line was used

to justify serious misdeeds.

       E.      Mexican Government Bonds

       203.    The Mexican antitrust regulator, the Comisión Federal de Competencia Económica

(“COFECE”) announced in April 2017 that it discovered evidence of anticompetitive conduct

among dealers in the Mexican Government Bond (“MGB”) market, including subsidiaries of

Barclays, Citigroup, JPMorgan, Bank of America, and Deutsche Bank. At least one bank was

accepted into its cartel leniency program after admitting to participation in a conspiracy to fix

Mexican Government Bond prices. After three years of investigation, on October 14, 2019,




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COFECE announced that it found evidence of collusion to manipulate MGB prices during a span

of 10 years.46

         F.      Stock Loan Market

         204.    In a class action currently pending in the United States District Court for the

Southern District of New York,47 plaintiffs who engaged in securities lending and stock lending

transactions with Defendants Bank of America, Goldman Sachs, JPMorgan, and Morgan Stanley

(as well as other entities) have alleged that those banks engaged in a wide-ranging antitrust

conspiracy to prevent the antiquated stock loan market – a $1.7 trillion market critical to the short

selling of stocks, a common investment tool – from evolving into a transparent, direct, all-to-all

electronic exchange.

         205.    Plaintiffs in the stock loan market litigation allege that defendants conspired

together to boycott, attack, and acquire new market entrants (and specifically, new market entrants

that threatened to allow non-OTC, direct all-to-all trading) in order to prevent those new entrants

from succeeding, thereby maintaining their monopoly grip as prime broker intermediaries, and, by

extension, their ability to charge excessive fees under the cover of price opacity – the precise

pattern of conduct engaged in by Defendants in this case in connection with odd-lots of corporate

bonds.

         206.    On September 27, 2018, Judge Failla denied a motion to dismiss the class complaint

against defendants in the stock loan market antitrust class action; that case remains pending.48


46
       Michael O’Boyle, Mexico’s Big Banks Unrevealed in Bond Market Collusion Probe,
BLOOMBERG, (Oct 14, 2019), https://www.bloomberg.com/news/articles/2019-10-14/mexico-s-
big-banks-unveiled-in-bond-market-collusion-probe-leak.
47
       Iowa Public Employees’ Retirement System v. Merrill Lynch, Pierce, Fenner & Smith, Inc.,
No. 17-Civ-6221 (KPF) (S.D.N.Y.).
48
         Id. at ECF No. 123.



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       G.      GSE Bonds

       207.    In 2018, DOJ opened a criminal investigation into whether some traders

manipulated prices in the market for unsecured bonds issued by government sponsored entities

(“GSEs”). Deutsche Bank is cooperating with the DOJ in this antitrust investigation.

       208.    Buy side GSE bonds investors also filed a class action49 against 16 banks, including

all the Defendants in this litigation as well as other entities, accusing them for conspiring to

manipulate the prices of GSE bonds. Defendants’ alleged misconduct in the GSE bonds market

involves fixing the “free to trade” (“FTT”) prices of newly issued GSE bonds and artificially

inflating the bid-ask spreads. Defendants in the GSE antitrust litigation agreed to pay a combined

$386.5 million to settle the case.

       H.      Precious Metals

       209.    In 2015, DOJ, CFTC, Swiss Competition authority, WEKO, and antitrust regulators

from the European Union all announced that they opened investigations into possible collusion in

the precious metals market by several major banks, including, among others, Barclays, Credit

Suisse, Deutsche Bank, Goldman Sachs, and JPMorgan. Several former traders from Deutsche

Bank and JPMorgan pleaded guilty to manipulate the prices of gold, silver, platinum and palladium

futures contracts. Deutsche Bank also paid $60 million to settle the related civil action.

       RELEVANT MARKET DEFINITION

       210.    The relevant product market is the secondary market for odd-lots of United States

corporate bonds (bond lots with a size of less than $1 million). Hereinafter, the market will be

referred to as “the relevant market.”




49
       In re GSE Bonds Antitrust Litigation, No. 1:19-cv-01704-JSR (S.D.N.Y.).



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       211.    Most U.S. corporate bonds are traded OTC, and thus every investor must use OTC

trading to transact with dealers in order to have access to and trade in U.S. corporate bonds. There

are few, if any, substitutes for OTC trading in the secondary market for investors who wish to trade

in U.S. corporate bonds.

       212.    Defendants’ role and dominant market share in OTC trading in the secondary

market for U.S. corporate bonds provides Defendants with the power to limit competition on bid-

offer spreads for odd-lots, and by doing so allows Defendants and others to charge

supracompetitive prices on odd-lots versus round-lots of the same U.S. corporate bonds in the

relevant market.

       213.    Via their agreement to restrain competition on bid-offer spreads of odd-lots, the

Defendants have preserved their dominant market share of OTC trading in the secondary market,

and maintained supracompetitive prices.

       214.    The higher costs that result from Defendants’ agreement not to compete on bid-

offer spreads for odd-lots of corporate bonds raises prices for odd-lot investors. The persistence

of the wider bid-offer spread incentivizes Defendants to continue to avoid competition on odd-lot

pricing.

       215.    Defendants’ agreement among themselves not to compete on pricing of odd-lot

transactions is a horizontal conspiracy in restraint of trade to affect, raise, fix, maintain, and

stabilize prices in the market for odd-lots of U.S. corporate bonds.

       216.    Defendants’ concerted effort to deny an essential facility to an electronic trading

platform that sought to provide retail investors dealing in odd-lot transactions of corporate bonds

with greater pre-trade pricing transparency and increased competition on odd-lot pricing was a




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horizontal conspiracy in restraint of trade to affect, raise, fix, maintain, and stabilize prices in the

markets for odd-lots of U.S. corporate bonds.

         217.   Defendants’ group boycott of electronic trading platforms that sought to provide

retail investors dealing in odd-lot transactions of corporate bonds with greater pre-trade pricing

transparency and increased competition on odd-lot pricing was a group boycott in restraint of trade

to affect, raise, fix, maintain, and stabilize prices in the markets for odd-lots of U.S. corporate

bonds.

         218.   The effect of this unlawful conduct has been and will continue to be to restrain or

eliminate competition among Defendants in regards to the pricing of odd-lots, and will allow

Defendants to reap inflated, supracompetitive profits generated by the wider bid-offer spread on

odd-lots of U.S. corporate bonds.

         219.   The geographic scope of the market is the United States.

         IMPACT OF DEFENDANTS’ CONDUCT ON RELEVANT MARKETS AND
         INVESTORS

         220.   Publicly available data (including the academic studies discussed above) suggests

that Defendants earn supracompetitive fees by maintaining a wider bid-offer spread on odd-lots of

corporate bonds as a result of their anticompetitive conduct.

         221.   Given the total volume of trading during the Class Period (over $35.2 trillion in par

value of corporate bonds traded just between 2013-2017) and the findings of the aforementioned

academic studies that odd-lots transaction costs exceeded the costs of round-lots by a conservative

10 basis points (if not more), Plaintiff reasonably believes the potential damages to investors

during the relevant time period could amount to billions of dollars of damages caused by

Defendants’ anticompetitive practices.50


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         Plaintiff believes a total damages value in the billions may even be conservative. From


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                                    ANTITRUST INJURY

       222.    As a result of Defendants’ conduct, Plaintiff and the Class have suffered antitrust

injury. Defendants are horizontal competitors who compete to buy and sell odd-lots of corporate

bonds to Plaintiff and the Class. Plaintiff and the Class are their customers who directly buy from

Defendants and sell to Defendants odd-lots of corporate bonds. Defendants conspired to charge

unlawful, artificial bid and offer prices for odd-lots of corporate bonds. Plaintiff and the Class

directly paid the supra-competitive price to Defendants when buying odd-lots of corporate bonds,

or directly received the worse price from Defendants when selling odd-lots of corporate bonds.

Plaintiff and the Class have suffered the quintessential antitrust injury – purchasing a price-fixed

product directly from horizontal competitors.

                             FRAUDULENT CONCEALMENT

       223.    During the Class Period, Defendants actively, fraudulently, and effectively

concealed their collusion, as alleged herein, from Plaintiff and members of the Class.

       224.    By its very nature, the unlawful activity alleged herein was self-concealing.

Defendants conspired to unreasonably restrain the trade of odd-lots of corporate bond in the

secondary market and artificially inflated bid/offer spreads to the benefit of Defendants and to the

detriment of Plaintiff and members of the Class. Defendants also conspired to keep their collusive




2013-2018, over $43.1 trillion in notional value of corporate bonds were traded in the United
States. If White (2017) is correct that odd-lot trades represent around 18% of daily market volume
($7.77 trillion) and Plaintiff could demonstrate that Defendants’ anticompetitive conduct resulted
in odd-lots having just a 10 basis point higher transaction cost (again, conservative based on the
academic literature) than comparable round-lot transactions, that would indicate potential damages
of $7.77 billion during just 2013-2018. That number would still be a conservative estimate,
because it would not include the August 1, 2006-December 31, 2012 period or the trading to-date
in 2019 (times covered by the Class Period but not reflected in the calculation), nor any trebling
of damages, and is based off a conservative 10 basis point estimate of the odd-lot pricing
differential (the evidence could support a higher differential).



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and manipulative conduct secret because their joint efforts would not have been successful if they

had been made public.

       225.       Defendants’ collusion is facilitated by the high levels of interfirm communication

between Defendants. The details of these communications were secret, as well as identities of the

individuals conducting these communications. The communications among Defendants occurs

via Bloomberg messages, via dealer-to-sales desk-to-dealer channels, and on online platforms

closed to retail investors. Plaintiff and the Class have no way to access such communications.

       226.       None of the facts or information available to Plaintiff and the Class, if investigated

with reasonable diligence, could or would have led to the discovery of the conspiracies alleged in

this complaint.

       227.       As a result, Plaintiff and the Class were prevented from learning of the facts needed

to commence suit against Defendants for the manipulative and anticompetitive conduct alleged in

this complaint.

       228.       Because of Defendants’ active steps, including fraudulent concealment of their

conspiracy to prevent Plaintiff and the Class from suing them for the anticompetitive activities

alleged in this complaint, Defendants are equitably estopped from asserting that any otherwise

applicable limitations period has run.

                                CLASS ACTION ALLEGATIONS

       229.       Plaintiff brings this action on behalf of herself and as a class action under Rule

23(a), (b)(2) and (b)(3) of the Federal Rules of Civil Procedure on behalf of the following class

(the “Class”):

       All persons in the United States who, between August 1, 2006 to the present (“Class
       Period”), bought and/or sold odd-lots (lots of total size below $1 million) of
       corporate bonds in the secondary market. Specifically excluded from these Classes
       are Defendants; the officers, directors, or employees of any Defendant; any entity



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       in which any Defendant has a controlling interest; any affiliate, legal representative,
       heir, or assign of any Defendant and any person acting on their behalf.

       Also excluded from the Class are any judicial officer presiding over this action and
       the members of his/her immediate family and judicial staff, and any juror assigned
       to this action.

       230.    The Class is readily ascertainable and the records for the Class should exist,

including, specifically, Defendants’ own records and transaction data.

       231.    Due to the nature of the trade and commerce involved, Plaintiff believes that there

are thousands of geographically dispersed Class members in the Class, the exact number and their

identities being known to Defendants.

       232.    Plaintiff’s claims are typical of the claims of the members of the Class. Plaintiff

and members of the Class sustained damages arising out of Defendants’ common course of

conduct in violation of the laws alleged herein. The damages and injuries of each member of the

Class were directly caused by Defendants’ wrongful conduct.

       233.    There are questions of law and fact common to the Class, including, but not limited

to, the following:

           •   whether investors traded in odd-lots of U.S. corporate bonds during the Class
               Period;

           •   whether investors trading in odd-lots of U.S. corporate bonds were charged higher
               transaction costs via a wider bid-offer spread than the transaction costs charged to
               investors trading in round-lots of those same bonds;

           •   whether Defendants entered into a horizontal conspiracy not to compete amongst
               each other in regards to transaction costs (and the related bid-offer spreads) on odd-
               lot transactions of corporate bonds;

           •   whether Defendants engaged in an anticompetitive group boycott of electronic
               platforms that threatened to give retail investors trading almost exclusively in odd-
               lots greater price transparency;

           •   whether Defendants engaged in a horizontal conspiracy to deny and/or delay NYSE
               Bonds from having access to Bloomberg TOMS, a trade order management system




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                  for electronic trading of corporate bonds that was an essential facility that
                  competitors to Defendants needed access to in order to enter the market; and

           •      the appropriate Class-wide measures of damages.

       234.       Plaintiff will fairly and adequately protect the interests of the members of the Class.

Plaintiff’s interests are aligned with, and not antagonistic to, those of the other members of the

Class, and Plaintiff has retained counsel competent and experienced in the prosecution of class

actions and financial institution-related litigation to represent herself and the Class.

       235.       Questions of law or fact that are common to the members of the Class predominate

over any questions affecting only individual members of the Class.

       236.       A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. The prosecution of separate actions by individual members of

the Class would impose heavy burdens on the courts and Defendants and would create a risk of

inconsistent or varying adjudications of the questions of law and fact common to the Class. A

class action, on the other hand, would achieve substantial economies of time, effort, and expense

and would assure uniformity of decision as to persons similarly situated without sacrificing

procedural fairness or bringing about other undesirable results. Absent a class action, it would not

be feasible for the vast majority of the Class members to seek redress for the violations of law

alleged herein.

                                       CLAIMS FOR RELIEF

                                       First Claim for Relief
                          Violation of §1 of the Sherman Act, 15 U.S.C. §1
                        (Conspiracy to Restrain Competition and Price Fixing)

       237.       Plaintiff repeats and incorporates by reference each of the foregoing allegations of

this complaint.

       238.       The relevant market defined above is a valid antitrust market.




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       239.      Defendants are competitors in the relevant market.

       240.      Plaintiff and the proposed Class allege a contract, combination, or conspiracy exists

between or among Defendants and/or others that unreasonably restrains and/or eliminates trade,

so as to fix artificially high prices for trading in odd-lots of corporate bonds.

       241.      Defendants are engaged in commerce in the United States, and the anticompetitive

conduct alleged herein involves U.S. corporate bonds that are in the flow of interstate commerce.

Defendants’ anticompetitive conduct has substantially impacted and will continue to substantially

impact interstate commerce, because U.S. corporate bonds are traded by investors throughout the

United States.

       242.      Defendants have conspired and agreed with each other to limit, reduce, or eliminate

competition in regards to the bid and offer prices they quote for odd-lots of U.S. corporate bonds,

in order to thereby secure supracompetitive pricing to the detriment of odd-lot investors versus the

competitive pricing provided to round-lot investors in the same underlying bonds.

       243.      This agreement to engage in anticompetitive conduct between the Defendants

constitutes a contract, combination, or conspiracy in unreasonable restraint of trade in violation of

Section 1 of the Sherman Act, 15 U.S.C. §1, the purpose of which is to unreasonably restrain trade

and suppress price competition in the relevant market and reap supracompetitive prices on the odd-

lot transactions in which Plaintiff and the Class members traded.

       244.      Plaintiff and the Class members request the Court to enter judgment in their favor

against Defendants, jointly and severally, awarding all damages, in an amount to be proven at trial,

costs, and such other relief as the Court deems appropriate and just.




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                                  Second Claim for Relief
                      Violation of §1 of the Sherman Act, 15 U.S.C. §1
    (Group Boycott of Odd-lot Focused Electronic Bond Trading Platforms/Refusal to Deal)

       245.       Plaintiff repeats and incorporates by reference each of the foregoing allegations of

this complaint.

       246.       The relevant market defined above is a valid antitrust market.

       247.       Defendants are competitors in the relevant market.

       248.       Plaintiff and the proposed Class allege a contract, combination, or conspiracy exists

between or among Defendants and/or others that unreasonably restrains and/or eliminates trade,

so as to fix artificially high prices for trading in odd-lots of corporate bonds and prevent

competition in that pricing.

       249.       Defendants are engaged in commerce in the United States, and the anticompetitive

conduct alleged herein involves U.S. corporate bonds that are in the flow of interstate commerce.

Defendants’ anticompetitive conduct has substantially impacted and will continue to substantially

impact interstate commerce, because U.S. corporate bonds are traded by investors throughout the

United States.

       250.       As alleged above, Defendants have conspired and agreed with each other to engage

in a group boycott as alleged above of certain odd-lot focused electronic trading platforms

(including, but not limited to, ABS/NYSE Bonds and Bonds.com’s BondStation/ BondsPRO

platforms) that sought to increase pre-trade pricing transparency, allow all-to-all direct trading

and/or anonymous trading, and/or otherwise promote pricing competition for odd-lot investors.

       251.       Also as alleged above, Defendants have also used their market power as oligopsony

subscribers to Bloomberg’s terminal service and their role as providers of liquidity and order flow

to Bloomberg’s electronic corporate bond trading platform in anticompetitive ways in violation




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Section 1 of the Sherman Act, 15 U.S.C. §1. Specifically, Defendants forced Bloomberg to deny

and/or delay access to Bloomberg’s TOMS – an essential facility necessary to participate in

electronic trading of corporate bonds to platforms such as NYSE Bonds that sought to increase

pre-trade pricing transparency, allow all-to-all direct trading and/or anonymous trading, and/or

otherwise promote pricing competition for odd-lot investors.

       252.    By engaging in this group boycott and forcing a refusal to deal by Bloomberg in

connection with an essential facility, Defendants were able to further their goal of securing

supracompetitive pricing to the detriment of odd-lot investors versus the competitive pricing

provided to round-lot investors in the same underlying bonds.

       253.    This group boycott and refusal to deal agreement between Defendants constitutes a

contract, combination, or conspiracy in unreasonable restraint of trade in violation of Section 1 of

the Sherman Act, 15 U.S.C. §1, the purpose of which is to unreasonably restrain trade and suppress

price competition in the relevant market and reap supracompetitive prices on the odd-lot

transactions in which Plaintiff and the Class members traded.

       254.    Plaintiff and the Class members request the Court to enter judgment in their favor

against Defendants, jointly and severally, awarding all damages, in an amount to be proven at trial,

costs, and such other relief as the Court deems appropriate and just.

                                   REQUEST FOR RELIEF

       WHEREFORE, Plaintiff and the Class members request the Court to enter judgment in

their favor against Defendants, awarding all such relief as the Court deems appropriate and just.

       Plaintiff requests the following relief:

               A.      That the Court determine that this action may be maintained as a class action

under Rule 23(a), (b)(1), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, and direct that




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notice of this action, as provided by Rule 23(c)(2) of the Federal Rules of Civil Procedure, be given

to Class members;

                 B.      That the Court enter an order declaring that Defendants’ actions, as

alleged herein, violate the law;

                 C.      That the Court award Plaintiff and Class members damages, treble damages,

punitive damages, and/or restitution in an amount to be determined at trial;

                 D.      That the Court permanently enjoin Defendants, their affiliates, successors,

transferees, assignees, and other offices, directors, agents, and employees thereof from continuing,

maintaining, or renewing the conduct, contract, conspiracy, or combination alleged herein, or from

entering into any other contract, conspiracy, or combination having a similar purpose or effect,

and from adopting or following any practice, plan, program, or device having a similar purpose or

effect;

                 E.      That the Court award Plaintiff and Class members pre- and post-judgment

interest;

                 F.      That the Court award Plaintiff and Class members her costs of suit,

including reasonable attorneys’ fees and expenses; and

                 G.      That the Court award any and all such other relief as the Court may deem

proper.

                                     JURY TRIAL DEMAND

          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a jury

trial of all issues so triable.


Dated: April 21, 2020                           s/ Christopher M. Burke
                                               Christopher M. Burke (CB-3648)
                                               SCOTT+SCOTT ATTORNEYS AT LAW LLP



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